 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 1 of 50 PageID #:1297




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LAZAR MACOVSKI, Individually and On
Behalf of All Others Similarly Situated,

                              Plaintiff,

               v.                                Case No. 1:20-cv-02581

GROUPON, INC., RICH WILLIAMS, and                Honorable Matthew F. Kennelly
MELISSA THOMAS,



                              Defendants


                    [PROPOSED] ORDER PRELIMINARILY APPROVING
                       SETTLEMENT AND PROVIDING FOR NOTICE

       WHEREAS, a class action is pending in this Court entitled Macovski v. Groupon, Inc. et

al., No. 1:20-cv-02581 (the “Action”);

       WHEREAS, (a) Lead Plaintiff Fadi E. Rahal, on behalf of himself and the Settlement Class

(defined below), and (b) defendant Groupon, Inc. (“Groupon”) and defendants Rich Williams and

Melissa Thomas (collectively, “Individual Defendants,” and, together with Groupon,

“Defendants;” and together with Lead Plaintiff, the “Parties”) have determined to settle all claims

asserted against Defendants in this Action with prejudice on the terms and conditions set forth in

the Stipulation and Agreement of Settlement dated June 24, 2022 (the “Stipulation”) subject to

approval of this Court (the “Settlement”);

       WHEREAS, Lead Plaintiff has made an application, pursuant to Rule 23 of the Federal

Rules of Civil Procedure, for an order preliminarily approving the Settlement in accordance with
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 2 of 50 PageID #:1298




the Stipulation, certifying the Settlement Class for purposes of the Settlement only, and allowing

notice to Settlement Class Members as more fully described herein;

       WHEREAS, the Court has read and considered: (a) Lead Plaintiff’s motion for preliminary

approval of the Settlement, and the papers filed and arguments made in connection therewith; and

(b) the Stipulation and the exhibits attached thereto; and

       WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall

have the same meanings as they have in the Stipulation;

       NOW THEREFORE, IT IS HEREBY ORDERED:

       1.      Class Certification for Settlement Purposes – Pursuant to Rule 23(a) and (b)(3)

of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of effectuating the

proposed Settlement, a Settlement Class consisting of all persons and entities who or that, between

July 30, 2019, and February 18, 2020, inclusive (the “Settlement Class Period”), purchased or

otherwise acquired Groupon common stock and were damaged thereby. Excluded from the

Settlement Class are: (i) Defendants; (ii) any person who served as a control person, executive

officer and/or director of Groupon during the Settlement Class Period, and members of his or her

Immediate Family; (iii) present and former parents, subsidiaries, assigns, successors, affiliates, and

predecessors of Groupon; (iv) any entity in which Defendants have or had a controlling interest

during the Settlement Class Period; (v) any trust of which any Individual Defendant is the settlor

or that is for the benefit of any Individual Defendant and/or member(s) of his or her Immediate

Family; and (vi) the legal representatives, heirs, successors, and assigns of any person or entity

excluded under provisions (i) through (v) hereof. Also excluded from the Settlement Class are

any persons and entities who or that validly exclude themselves by submitting a request for

exclusion that is accepted by the Court.




                                                  2
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 3 of 50 PageID #:1299




       2.      Class Findings – Solely for purposes of the proposed Settlement of this Action, the

Court finds that each element required for certification of the Settlement Class pursuant to Rule

23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement Class

are so numerous that their joinder in the Action would be impracticable; (b) there are questions of

law and fact common to the Settlement Class that predominate over any individual questions; (c)

the claims of Lead Plaintiff in the Action are typical of the claims of the Settlement Class; (d) Lead

Plaintiff and Lead Counsel have and will fairly and adequately represent and protect the interests

of the Settlement Class; and (e) a class action is superior to other available methods for the fair

and efficient adjudication of the Action.

       3.      The Court hereby finds and concludes that pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiff Fadi E. Rahal is an

adequate class representative and certifies him as Class Representative for the Settlement Class.

The Court also appoints Lead Counsel, Kirby McInerney LLP and Glancy Prongay & Murray

LLP, as Class Counsel for the Settlement Class, pursuant to Rule 23(g) of the Federal Rules of

Civil Procedure.

       4.      Preliminary Approval of the Settlement – The Court hereby preliminarily

approves the Settlement, as embodied in the Stipulation, as being fair, reasonable, and adequate to

the Settlement Class, subject to further consideration at the Settlement Hearing to be conducted as

described below.

       5.      Settlement Hearing – The Court will hold a settlement hearing (the “Settlement

Hearing”) on _____________, 2022 at __:__ _.m. in Courtroom 2103 of the Everett McKinley

Dirksen United States Courthouse, 219 S. Dearborn Street, Chicago, IL 60604, for the following

purposes: (a) to determine whether the proposed Settlement on the terms and conditions provided




                                                  3
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 4 of 50 PageID #:1300




for in the Stipulation is fair, reasonable, and adequate to the Settlement Class, and should be

approved by the Court; (b) to determine whether a Judgment substantially in the form attached as

Exhibit B to the Stipulation should be entered dismissing the Action with prejudice against

Defendants; (c) to determine whether the proposed Plan of Allocation for the proceeds of the

Settlement is fair and reasonable and should be approved; (d) to determine whether the motion by

Lead Counsel for an award of attorneys’ fees and reimbursement of Litigation Expenses should be

approved; and (e) to consider any other matters that may properly be brought before the Court in

connection with the Settlement. Notice of the Settlement and the Settlement Hearing shall be

given to Settlement Class Members as set forth in paragraph 7 of this Order.

       6.      The Court may adjourn the Settlement Hearing without further notice to the

Settlement Class, and may approve the proposed Settlement with such modifications as the Parties

may agree to, if appropriate, without further notice to the Settlement Class. As set forth in the

Notice, the Court reserves the right to hold the Settlement Hearing telephonically or via

videoconference.

       7.      Retention of Claims Administrator and Manner of Giving Notice – Lead

Counsel is hereby authorized to retain Epiq Class Action & Claims Solutions, Inc. (the “Claims

Administrator”) to supervise and administer the notice procedure in connection with the proposed

Settlement as well as the processing of Claims as more fully set forth below. Notice of the

Settlement and the Settlement Hearing shall be given by Lead Counsel as follows:

               (a)    within ten (10) business days of the date of entry of this Order, Groupon

shall provide or cause to be provided to the Claims Administrator in electronic format (at no cost

to the Settlement Fund, Lead Counsel, or the Claims Administrator) its list(s) of shareholders of




                                                4
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 5 of 50 PageID #:1301




record (consisting of names and addresses) for the Groupon common stock during the Settlement

Class Period;

                (b)    not later than twenty (20) business days after the date of entry of this Order

(the “Notice Date”), the Claims Administrator shall cause a copy of the Notice and the Claim

Form, substantially in the forms attached hereto as Exhibits 1 and 2, respectively (the “Notice

Packet”), to be mailed by first-class mail to potential Settlement Class Members at the addresses

set forth in the records provided by Groupon or in the records that Groupon causes to be provided,

or who otherwise may be identified through further reasonable effort;

                (c)    contemporaneously with the mailing of the Notice Packet, the Claims

Administrator shall cause copies of the Notice and the Claim Form to be posted on a website to be

developed for the Settlement, from which copies of the Notice and Claim Form can be

downloaded;

                (d)    not later than ten (10) business days after the Notice Date, the Claims

Administrator shall cause the Summary Notice, substantially in the form attached hereto as Exhibit

3, to be published once in Investor’s Business Daily and to be transmitted once over the PR

Newswire; and

                (e)    not later than seven (7) calendar days prior to the Settlement Hearing, Lead

Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit or

declaration, of such mailing and publication.

       8.       Approval of Form and Content of Notice – The Court (a) approves, as to form

and content, the Notice, the Claim Form, and the Summary Notice, attached hereto as Exhibits 1,

2, and 3, respectively, and (b) finds that the mailing and distribution of the Notice and Claim Form

and the publication of the Summary Notice in the manner and form set forth in paragraph 7 of this




                                                 5
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 6 of 50 PageID #:1302




Order (i) is the best notice practicable under the circumstances; (ii) constitutes notice that is

reasonably calculated, under the circumstances, to apprise Settlement Class Members of the

pendency of the Action, of the effect of the proposed Settlement (including the Releases to be

provided thereunder), of Lead Counsel’s motion for an award of attorneys’ fees and reimbursement

of Litigation Expenses, of their right to object to the Settlement, the Plan of Allocation, and/or

Lead Counsel’s motion for attorneys’ fees and reimbursement of Litigation Expenses, of their right

to exclude themselves from the Settlement Class, and of their right to appear at the Settlement

Hearing; (iii) constitutes due, adequate, and sufficient notice to all persons and entities entitled to

receive notice of the proposed Settlement; and (iv) satisfies the requirements of Rule 23 of the

Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and

all other applicable law and rules. The date and time of the Settlement Hearing shall be included

in the Notice and Summary Notice before they are mailed and published, respectively.

       9.      Nominee Procedures – Brokers and other nominees who purchased or otherwise

acquired Groupon common stock during the Settlement Class Period for the benefit of another

person or entity shall (a) within seven (7) calendar days of receipt of the Notice, request from the

Claims Administrator sufficient copies of the Notice Packet to forward to all such beneficial

owners and within seven (7) calendar days of receipt of those Notice Packets forward them to all

such beneficial owners; or (b) within seven (7) calendar days of receipt of the Notice, send a list

of the names and addresses of all such beneficial owners to the Claims Administrator in which

event the Claims Administrator shall promptly mail the Notice Packet to such beneficial owners.

Upon full compliance with these directions, such nominees may seek reimbursement of their

reasonable expenses actually incurred, up to a maximum of $0.50 per Notice Packet mailed; $0.05




                                                  6
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 7 of 50 PageID #:1303




per Notice Packet transmitted by email; or $0.10 per name, mailing address, and email address (to

the extent available) provided to the Claims Administrator, by providing the Claims Administrator

with proper documentation supporting the expenses for which reimbursement is sought. Such

properly documented expenses incurred by nominees in compliance with the terms of this Order

shall be paid from the Settlement Fund, with any disputes as to the reasonableness or

documentation of expenses incurred subject to review by the Court.

       10.     Participation in the Settlement – Settlement Class Members who wish to

participate in the Settlement and to be eligible to receive a distribution from the Net Settlement

Fund must complete and submit a Claim Form in accordance with the instructions contained

therein. Unless the Court orders otherwise, all Claim Forms must be postmarked no later than one

hundred twenty (120) calendar days after the Notice Date. Notwithstanding the foregoing, Lead

Counsel may, at its discretion, accept for processing late Claims provided such acceptance does

not delay the distribution of the Net Settlement Fund to the Settlement Class. By submitting a

Claim, a person or entity shall be deemed to have submitted to the jurisdiction of the Court with

respect to his, her, or its Claim and the subject matter of the Settlement.

       11.     Each Claim Form submitted must satisfy the following conditions: (a) it must be

properly completed, signed and submitted in a timely manner in accordance with the provisions of

the preceding paragraph; (b) it must be accompanied by adequate supporting documentation for

the transactions and holdings reported therein, in the form of broker confirmation slips, broker

account statements, an authorized statement from the broker containing the transactional and

holding information found in a broker confirmation slip or account statement, or such other

documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the

person executing the Claim Form is acting in a representative capacity, a certification of his, her,




                                                  7
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 8 of 50 PageID #:1304




or its current authority to act on behalf of the Settlement Class Member must be included in the

Claim Form to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim

Form must be complete and contain no material deletions or modifications of any of the printed

matter contained therein and must be signed under penalty of perjury.

       12.     Any Settlement Class Member who does not timely and validly submit a Claim

Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have waived

his, her, or its right to share in the Net Settlement Fund; (b) shall be forever barred from

participating in any distributions therefrom; (c) shall be bound by the provisions of the Stipulation

and the Settlement and all proceedings, determinations, orders, and judgments in the Action

relating thereto, including, without limitation, the Judgment or Alternate Judgment, if applicable,

and the Releases provided for therein, whether favorable or unfavorable to the Settlement Class;

and (d) will be barred from commencing, maintaining, or prosecuting any of the Released

Plaintiff’s Claims against each and all of the Defendants’ Releasees, as more fully described in the

Stipulation and Notice. Notwithstanding the foregoing, late Claim Forms may be accepted for

processing as set forth in paragraph 10 above.

       13.     Exclusion From the Settlement Class – Any member of the Settlement Class who

wishes to exclude himself, herself, or itself from the Settlement Class must request exclusion in

writing within the time and in the manner set forth in the Notice, which shall provide that: (a) any

such request for exclusion from the Settlement Class must be mailed or delivered such that it is

received no later than twenty-one (21) calendar days prior to the Settlement Hearing, to: Macovski

v. Groupon, Inc., EXCLUSIONS, c/o Epiq, P.O. Box 2648, Portland, OR 97208-2648, and

(b) each request for exclusion must (i) state the name, address, and telephone number of the person

or entity requesting exclusion, and in the case of entities, the name and telephone number of the




                                                 8
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 9 of 50 PageID #:1305




appropriate contact person; (ii) state that such person or entity “requests exclusion from the

Settlement Class in Macovski v. Groupon, Inc., No. 1:20-cv-02581”; (iii) state the number of

shares of Groupon common stock that the person or entity requesting exclusion

purchased/acquired and/or sold during the Settlement Class Period, as well as the dates and prices

of each such purchase/acquisition and sale; and (iv) be signed by the person or entity requesting

exclusion or an authorized representative. A request for exclusion shall not be effective unless it

provides all the required information and is received within the time stated above, or is otherwise

accepted by the Court.

       14.     Any person or entity who or that timely and validly requests exclusion in

compliance with the terms stated in this Order and is excluded from the Settlement Class shall not

be a Settlement Class Member, shall not be bound by the terms of the Settlement or any orders or

judgments in the Action, and shall not receive any payment out of the Net Settlement Fund.

       15.     Any Settlement Class Member who or that does not timely and validly request

exclusion from the Settlement Class in the manner stated in this Order: (a) shall be deemed to have

waived his, her, or its right to be excluded from the Settlement Class; (b) shall be forever barred

from requesting exclusion from the Settlement Class in this or any other proceeding; (c) shall be

bound by the provisions of the Stipulation and Settlement and all proceedings, determinations,

orders, and judgments in the Action, including, but not limited to, the Judgment or Alternate

Judgment, if applicable, and the Releases provided for therein, whether favorable or unfavorable

to the Settlement Class; and (d) will be barred from commencing, maintaining, or prosecuting any

of the Released Plaintiff’s Claims against any of the Defendants’ Releasees, as more fully

described in the Stipulation and Notice.




                                                9
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 10 of 50 PageID #:1306




       16.     Appearance and Objections at Settlement Hearing – Any Settlement Class

Member who does not request exclusion from the Settlement Class may enter an appearance in the

Action, at his, her, or its own expense, individually or through counsel of his, her, or its own choice,

by filing with the Clerk of Court and delivering a notice of appearance to both Lead Counsel and

Defendants’ Counsel, at the addresses set forth in paragraph 17 below, such that it is received no

later than twenty-one (21) calendar days prior to the Settlement Hearing, or as the Court may

otherwise direct. Any Settlement Class Member who does not enter an appearance will be

represented by Lead Counsel.

       17.     Any Settlement Class Member who does not request exclusion from the Settlement

Class may file a written objection to the proposed Settlement, the proposed Plan of Allocation,

and/or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation

Expenses and appear and show cause, if he, she, or it has any cause, why the proposed Settlement,

the proposed Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and

reimbursement of Litigation Expenses should not be approved; provided, however, that no

Settlement Class Member shall be heard or entitled to contest the approval of the terms and

conditions of the proposed Settlement, the proposed Plan of Allocation, and/or the motion for

attorneys’ fees and reimbursement of Litigation Expenses unless that person or entity has filed a

written objection with the Court and served copies of such objection on Lead Counsel and

Defendants’ Counsel at the addresses set forth below such that they are received no later than

twenty-one (21) calendar days prior to the Settlement Hearing.

                  Lead Counsel                                  Defendants’ Counsel

            Kirby McInerney LLP                        Skadden, Arps, Slate, Meagher & Flom LLP
            Thomas W. Elrod, Esq.                                Matthew R. Kipp, Esq.
          250 Park Avenue, Suite 820                             155 N. Wacker Drive
            New York, NY 10177                                   Chicago, IL 60606



                                                  10
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 11 of 50 PageID #:1307




                      -and-
        Glancy Prongay & Murray LLP
            Leanne H. Solish, Esq.
      1925 Century Park East, Suite 2100
           Los Angeles, CA 90067

               18.     Any objections, filings, and other submissions by the objecting Settlement

Class Member: (a) must state the name, address, and telephone number of the person or entity

objecting and must be signed by the objector; (b) must contain a statement of the Settlement Class

Member’s objection or objections, and the specific reasons for each objection, including any legal

and evidentiary support the Settlement Class Member wishes to bring to the Court’s attention; and

(c) must include documents sufficient to prove membership in the Settlement Class, including the

number of shares of Groupon common stock that the objecting Settlement Class Member

purchased/acquired and/or sold during the Settlement Class Period, as well as the dates and prices

of each such purchase/acquisition and sale. Objectors who enter an appearance and desire to

present evidence at the Settlement Hearing in support of their objection must include in their

written objection or notice of appearance the identity of any witnesses they may call to testify and

any exhibits they intend to introduce into evidence at the hearing.

       19.     Any Settlement Class Member who or that does not make his, her, or its objection

in the manner provided herein shall be deemed to have waived his, her, or its right to object to any

aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s motion

for an award of attorneys’ fees and reimbursement of Litigation Expenses and shall be forever

barred and foreclosed from objecting to the fairness, reasonableness, or adequacy of the

Settlement, the Plan of Allocation, or the requested attorneys’ fees and Litigation Expenses, or

from otherwise being heard concerning the Settlement, the Plan of Allocation, or the requested

attorneys’ fees and Litigation Expenses in this or any other proceeding.



                                                11
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 12 of 50 PageID #:1308




         20.   Stay and Temporary Injunction – Until otherwise ordered by the Court, the Court

stays all proceedings in the Action other than proceedings necessary to carry out or enforce the

terms and conditions of the Stipulation. Pending final determination of whether the Settlement

should be approved, the Court bars and enjoins Lead Plaintiff, and all other members of the

Settlement Class, from commencing or prosecuting any and all of the Released Plaintiff’s Claims

against each and all of the Defendants’ Releasees.

         21.   Settlement Administration Fees and Expenses – All reasonable costs incurred in

identifying Settlement Class Members and notifying them of the Settlement as well as in

administering the Settlement shall be paid as set forth in the Stipulation without further order of

the Court.

         22.   Settlement Fund – The contents of the Settlement Fund held by The Huntington

National Bank (which the Court approves as the Escrow Agent), shall be deemed and considered

to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as they shall be distributed pursuant to the Stipulation and/or further order(s) of the

Court.

         23.   Taxes – Lead Counsel is authorized and directed to prepare any tax returns and any

other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement Fund

any Taxes owed with respect to the Settlement Fund, and to otherwise perform all obligations with

respect to Taxes and any reporting or filings in respect thereof without further order of the Court

in a manner consistent with the provisions of the Stipulation.

         24.   Termination of Settlement – If the Settlement is terminated as provided in the

Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails

to occur, this Order shall be vacated, rendered null and void, and be of no further force and effect,




                                                 12
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 13 of 50 PageID #:1309




except as otherwise provided by the Stipulation, and this Order shall be without prejudice to the

rights of Lead Plaintiff, the other Settlement Class Members, and Defendants, and the Parties shall

revert to their respective positions in the Action as of May 6, 2022, as provided in the Stipulation.

       25.     Use of this Order – Neither this Order, the Stipulation (whether or not

consummated), including the exhibits thereto and the Plan of Allocation contained therein (or any

other plan of allocation that may be approved by the Court), the negotiations leading to the

execution of the Stipulation, nor any proceedings taken pursuant to or in connection with the

Stipulation and/or approval of the Settlement (including any arguments proffered in connection

therewith): (a) shall be offered against any of the Defendants’ Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Defendants’ Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the

validity of any claim that was or could have been asserted or the deficiency of any defense that has

been or could have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Defendants’ Releasees or in any

way referred to for any other reason as against any of the Defendants’ Releasees, in any civil,

criminal, or administrative action or proceeding, other than such proceedings as may be necessary

to effectuate the provisions of the Stipulation; (b) shall be offered against any of the Plaintiff’s

Releasees, as evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Plaintiff’s Releasees that any of their claims are without

merit, that any of the Defendants’ Releasees had meritorious defenses, or that damages recoverable

under the Complaint would not have exceeded the Settlement Amount or with respect to any

liability, negligence, fault, or wrongdoing of any kind, or in any way referred to for any other

reason as against any of the Plaintiff’s Releasees, in any civil, criminal, or administrative action or




                                                  13
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 14 of 50 PageID #:1310




proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation; or (c) shall be construed against any of the Releasees as an admission, concession, or

presumption that the consideration to be given under the Settlement represents the amount that

could be or would have been recovered after trial; provided, however, that if the Stipulation is

approved by the Court, the Parties and the Releasees and their respective counsel may refer to it

to effectuate the protections from liability granted thereunder or otherwise to enforce the terms of

the Settlement.

       26.     Supporting Papers – Lead Counsel shall file and serve the opening papers in

support of the proposed Settlement, the Plan of Allocation, and Lead Counsel’s motion for an

award of attorneys’ fees and reimbursement of Litigation Expenses no later than thirty-five (35)

calendar days prior to the Settlement Hearing; and reply papers, if any, shall be filed and served

no later than seven (7) calendar days prior to the Settlement Hearing.

       27.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

SO ORDERED this _________ day of __________________, 202__.



                                              ________________________________________
                                                   The Honorable Matthew F. Kennelly
                                                       United States District Judge




                                                14
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 15 of 50 PageID #:1311




                                                                                           Exhibit 1
                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LAZAR MACOVSKI, Individually and On
Behalf of All Others Similarly Situated,

                               Plaintiff,
                                                   Case No. 1:20-cv-02581
               v.
                                                   Honorable Matthew F. Kennelly
GROUPON, INC., RICH WILLIAMS, and
MELISSA THOMAS,


                               Defendants


       NOTICE OF (I) PENDENCY OF CLASS ACTION, CERTIFICATION OF
     SETTLEMENT CLASS, AND PROPOSED SETTLEMENT; (II) SETTLEMENT
          FAIRNESS HEARING; AND (III) MOTION FOR AN AWARD OF
     ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES

       A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by
the above-captioned securities class action (the “Action”) pending in the United States District
Court for the Northern District of Illinois (the “Court”), if, during the period between July 30, 2019
and February 18, 2020, inclusive (the “Settlement Class Period”), you purchased or otherwise
acquired the common stock of Groupon Inc. (“Groupon” or the “Company”).1

NOTICE OF SETTLEMENT: Please also be advised that the Court-appointed Lead Plaintiff, Fadi E.
Rahal (“Lead Plaintiff”), on behalf of himself and the Settlement Class (as defined in ¶ 24 below),
have reached a proposed settlement of the Action for $13,500,000 in cash that, if approved, will
resolve all claims in the Action (the “Settlement”).
PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you
may have, including the possible receipt of cash from the Settlement. If you are a member
of the Settlement Class, your legal rights will be affected whether or not you act.
If you have any questions about this Notice, the proposed Settlement, or your eligibility to
participate in the Settlement, please DO NOT contact Groupon, any other Defendants in the

1
   All capitalized terms used in this Notice that are not otherwise defined herein shall have the
meanings ascribed to them in the Stipulation and Agreement of Settlement dated June 24, 2022
(the “Stipulation”), which is available at www.GrouponSecuritiesSettlement.com.
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 16 of 50 PageID #:1312




Action, or their counsel. All questions should be directed to Lead Counsel or the Claims
Administrator (see ¶ 85 below).
  1.    Description of the Action and the Settlement Class: This Notice relates to a proposed
Settlement of claims in a pending securities class action brought by investors alleging, among other
things, that defendants Groupon, Rich Williams (“Williams”) and Melissa Thomas (“Thomas”)
(collectively, “Defendants”)2 violated the federal securities laws by making false and misleading
statements and omissions regarding Groupon. A more detailed description of the Action is set forth
in paragraphs 11-23 below. The proposed Settlement, if approved by the Court, will settle claims
of the Settlement Class, as defined in paragraph 24 below.
  2.    Statement of the Settlement Class’s Recovery: Subject to Court approval, Lead Plaintiff,
on behalf of himself and the Settlement Class, has agreed to settle the Action in exchange for a
settlement payment of $13,500,000 in cash (the “Settlement Amount”) to be deposited into an
escrow account. The Net Settlement Fund (i.e., the Settlement Amount plus any and all interest
earned thereon (the “Settlement Fund”) less (a) any Taxes, (b) any Notice and Administration
Costs, (c) any Litigation Expenses awarded by the Court, and (d) any attorneys’ fees awarded by
the Court) will be distributed in accordance with a plan of allocation that is approved by the Court,
which will determine how the Net Settlement Fund shall be allocated among members of the
Settlement Class. The proposed plan of allocation (the “Plan of Allocation”) is set forth in
paragraphs 50-68 below.
  3.    Estimate of Average Amount of Recovery Per Share: Based on Lead Plaintiff’s
damages expert’s estimates of the number of shares of Groupon common stock purchased during
the Settlement Class Period that may have been affected by the conduct at issue in the Action and
assuming that all Settlement Class Members elect to participate in the Settlement, the estimated
average recovery (before the deduction of any Court-approved fees, expenses and costs as
described herein) per eligible share is $0.14. Settlement Class Members should note, however,
that the foregoing average recovery per share is only an estimate. Some Settlement Class Members
may recover more or less than this estimated amount depending on, among other factors, when
and at what prices they purchased/acquired or sold their shares of Groupon common stock, and the
total number of valid Claim Forms submitted. Distributions to Settlement Class Members will be
made based on the Plan of Allocation set forth herein (see paragraphs 50-68 below) or such other
plan of allocation as may be ordered by the Court.
  4.    Average Amount of Damages Per Share: The Parties do not agree on the average amount
of damages per share that would be recoverable if Lead Plaintiff were to prevail in the Action.
Among other things, Defendants do not agree with the assertion that they violated the federal
securities laws or that any damages were suffered by any members of the Settlement Class as a
result of Defendants’ conduct.
  5.    Attorneys’ Fees and Expenses Sought: Plaintiff’s Counsel, which have been prosecuting
the Action on a wholly contingent basis since its inception in 2020, have not received any payment
of attorneys’ fees for their representation of the Settlement Class and have advanced the funds to
pay expenses necessarily incurred to prosecute this Action. Court-appointed Lead Counsel, Kirby
McInerney LLP and Glancy Prongay & Murray LLP, will apply to the Court for an award of
attorneys’ fees for all Plaintiff’s Counsel in an amount not to exceed 33⅓% of the Settlement Fund.

2
    Defendants Williams and Thomas are collectively referred to herein as “Individual Defendants.”
                                                 2
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 17 of 50 PageID #:1313




In addition, Lead Counsel will apply for reimbursement of Litigation Expenses paid or incurred in
connection with the institution, prosecution, and resolution of the claims against the Defendants,
in an amount not to exceed $350,000, which may include an application for reimbursement of the
reasonable costs and expenses incurred by Lead Plaintiff directly related to his representation of
the Settlement Class in an amount not to exceed $5,000. Any fees and expenses awarded by the
Court will be paid from the Settlement Fund. Settlement Class Members are not personally liable
for any such fees or expenses. Estimates of the average cost per affected share of Groupon
common stock, if the Court approves Lead Counsel’s fee and expense application, is $0.05 per
eligible share.
  6.    Identification of Attorneys’ Representatives: Lead Plaintiff and the Settlement Class
are represented by Thomas W. Elrod, Esq. of Kirby McInerney LLP, 250 Park Avenue, Suite 820,
New York, NY 10177, (212) 371-6600, telrod@kmllp.com and Leanne H. Solish, Esq. of Glancy
Prongay & Murray LLP, 1925 Century Park East, Suite 2100, Los Angeles, CA 90067, (888) 773-
9224, settlements@glancylaw.com.
  7. Reasons for the Settlement: Lead Plaintiff’s principal reason for entering into the
Settlement is the substantial immediate cash benefit for the Settlement Class without the risk or
the delays inherent in further litigation. Moreover, the substantial cash benefit provided under the
Settlement must be considered against the significant risk that a smaller recovery – or indeed no
recovery at all – might be achieved after contested motions, a trial of the Action, and the likely
appeals that would follow a trial. This process could be expected to last several years. Defendants,
who deny all allegations of wrongdoing or liability whatsoever, are entering into the Settlement
solely to eliminate the uncertainty, burden, and expense of further protracted litigation.

            YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
SUBMIT A CLAIM FORM                 This is the only way to be eligible to receive a payment from
ONLINE OR                           the Settlement Fund. If you are a Settlement Class Member
POSTMARKED NO LATER                 and you remain in the Settlement Class, you will be bound by
THAN _____________, 2022.           the Settlement as approved by the Court and you will give up
                                    any Released Plaintiff’s Claims (defined in ¶ 33 below) that
                                    you have against Defendants’ Releasees (defined in ¶ 34
                                    below), so it is in your interest to submit a Claim Form.
EXCLUDE YOURSELF                    If you exclude yourself from the Settlement Class, you will not
FROM THE SETTLEMENT                 be eligible to receive any payment from the Settlement Fund.
CLASS BY SUBMITTING A               Excluding yourself from the Settlement Class is the only
WRITTEN REQUEST FOR                 option that allows you ever to be part of any other lawsuit
EXCLUSION SO THAT IT                against any of the Defendants’ Releasees concerning the
IS RECEIVED NO LATER                Released Plaintiff’s Claims.
THAN _____________, 2022.




                                                 3
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 18 of 50 PageID #:1314




OBJECT TO THE                  If you do not like the proposed Settlement, the proposed Plan
SETTLEMENT BY                  of Allocation, or the request for attorneys’ fees and
SUBMITTING A WRITTEN           reimbursement of Litigation Expenses, you may write to the
OBJECTION SO THAT IT           Court and explain why you do not like one or more of them.
IS RECEIVED NO LATER           You cannot object to the Settlement, the Plan of Allocation, or
THAN _____________, 2022.      the fee and expense request unless you are a Settlement Class
                               Member and do not exclude yourself from the Settlement
                               Class.
GO TO A HEARING ON             Filing a written objection and notice of intention to appear by
_____________, 2022 AT         _____________, 2022 allows you to speak in Court, at the
__:__ __.M., AND FILE A        discretion of the Court, about the fairness of the proposed
NOTICE OF INTENTION            Settlement, the Plan of Allocation, and/or the request for
TO APPEAR SO THAT IT           attorneys’ fees and reimbursement of Litigation Expenses. If
IS RECEIVED NO LATER           you submit a written objection, you may (but you do not have
THAN _____________, 2022.      to) attend the hearing and, at the discretion of the Court, speak
                               to the Court about your objection.
DO NOTHING.                    If you are a member of the Settlement Class and you do not
                               submit a valid Claim Form, you will not be eligible to receive
                               any payment from the Settlement Fund. You will, however,
                               remain a member of the Settlement Class, which means that
                               you give up your right to sue about the claims that are resolved
                               by the Settlement and you will be bound by any judgments or
                               orders entered by the Court in the Action.



                           WHAT THIS NOTICE CONTAINS


Why Did I Get This Notice?                                                      Page __
What Is This Case About?                                                        Page __
How Do I Know If I Am Affected By The Settlement?
  Who Is Included In The Settlement Class?                                      Page __
What Are Lead Plaintiff’s Reasons For The Settlement?                           Page __
What Might Happen If There Were No Settlement?                                  Page __
How Are Settlement Class Members Affected By The Action
 And The Settlement?                                                            Page __
How Do I Participate In The Settlement? What Do I Need To Do?                   Page __
How Much Will My Payment Be?                                                    Page __
What Payment Are The Attorneys For The Settlement Class Seeking?
 How Will The Lawyers Be Paid?                                                  Page __
What If I Do Not Want To Be A Member Of The Settlement Class?
  How Do I Exclude Myself?                                                      Page __
When And Where Will The Court Decide Whether To Approve The Settlement?
  Do I Have To Come To The Hearing? May I Speak At The Hearing If I
  Don’t Like The Settlement?                                                    Page __

                                            4
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 19 of 50 PageID #:1315




What If I Bought Shares On Someone Else’s Behalf?                                    Page __
Can I See The Court File? Whom Should I Contact If I Have Questions?                 Page __

                                WHY DID I GET THIS NOTICE?

  8. The Court directed that this Notice be mailed to you because you or someone in your family
or an investment account for which you serve as a custodian may have purchased or otherwise
acquired Groupon common stock during the Settlement Class Period. The Court has directed us
to send you this Notice because, as a potential Settlement Class Member, you have a right to know
about your options before the Court rules on the proposed Settlement. Additionally, you have the
right to understand how this class action lawsuit may generally affect your legal rights. If the
Court approves the Settlement, and the Plan of Allocation (or some other plan of allocation), the
claims administrator selected by Lead Plaintiff and approved by the Court will make payments
pursuant to the Settlement after any objections and appeals are resolved.
  9.    The purpose of this Notice is to inform you of the existence of this case, that it is a class
action, how you might be affected, and how to exclude yourself from the Settlement Class if you
wish to do so. It is also being sent to inform you of the terms of the proposed Settlement, and of
a hearing to be held by the Court to consider the fairness, reasonableness, and adequacy of the
Settlement, the proposed Plan of Allocation and the motion by Lead Counsel for an award of
attorneys’ fees and reimbursement of Litigation Expenses (the “Settlement Hearing”). See
paragraphs 74-7575 below for details about the Settlement Hearing, including the date and location
of the hearing.
  10. The issuance of this Notice is not an expression of any opinion by the Court concerning
the merits of any claim in the Action, and the Court still has to decide whether to approve the
Settlement. If the Court approves the Settlement and a plan of allocation, then payments to
Authorized Claimants will be made after any appeals are resolved and after the completion of all
claims processing. Please be patient, as this process can take some time to complete.

                                 WHAT IS THIS CASE ABOUT?

 11. A class action complaint was filed in the Court on April 28, 2020, styled Macovski v.
Groupon Inc. et al., No. 1:20-cv-02581.
  12. By Order dated August 1, 2020, Fadi E. Rahal was appointed lead plaintiff, and his
selection of the law firms of Kirby McInerney LLP and Glancy Prongay & Murray LLP to serve
as Lead Counsel and Pomerantz LLP to serve as Liaison Counsel were approved by the Court.
  13. On September 22, 2020, Lead Plaintiff filed and served his Amended Class Action
Complaint for Violation of the Federal Securities Laws (the “First Amended Complaint”) asserting
claims against all Defendants under Section 10(b) of the Securities Exchange Act of 1934 (the
“Exchange Act”) and Rule 10b-5 promulgated thereunder, and against the Individual Defendants
under Section 20(a) of the Exchange Act. Among other things, the First Amended Complaint
alleged that Defendants made statements that omitted material adverse information concerning (i)
Groupon’s Goods division, (ii) Groupon’s Select loyalty program, and (iii) Groupon’s overall
financial performance. The First Amended Complaint further alleged that the prices of Groupon’s
publicly-traded securities were artificially inflated as a result of Defendants’ allegedly false and
misleading statements, and declined when the truth was revealed.
                                                 5
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 20 of 50 PageID #:1316




  14. On November 23, 2020, Defendants moved to dismiss the First Amended Complaint. On
April 28, 2021, the Court granted Defendants’ motion to dismiss, and permitted Lead Plaintiff to
file a motion for leave to amend that includes a proposed second amended complaint that meets
the PSLRA’s pleading requirements.
 15. On May 19, 2021, Lead Plaintiff filed and served a motion for leave to amend the First
Amended Complaint along with a [Proposed] Second Amended Class Action Complaint for
Violation of the Federal Securities Laws. On June 23, 2021, Defendants filed and served an
opposition to Lead Plaintiff’s motion for leave to amend.
  16. On August 11, 2021, the Court granted Lead Plaintiff’s motion for leave to file the
[Proposed] Second Amended Class Action Complaint for Violation of the Federal Securities Laws.
On August 12, 2021, Lead Plaintiff filed and served the Second Amended Class Action Complaint
for Violation of the Federal Securities Laws (the “Second Amended Complaint”), again asserting
claims under the Exchange Act against Defendants based upon a similar set of allegations as the
First Amended Complaint.
  17. On September 24, 2021, Defendants filed and served an answer to the Complaint. In
addition to denying the allegations in the Complaint, the answer asserted that Defendants would
expect to raise multiple defenses, including, but not limited to, the truthfulness of the alleged
misstatements, the immateriality of the alleged misrepresentations and omissions, the nonexistence
of allegedly omitted information, the reasonable basis upon which forward-looking statements
were made, the lack of requisite scienter, and the lack of a legal duty to disclose allegedly withheld,
later-discovered information. Moreover, to the extent Plaintiff's case rests primarily on allegations
related to Select, Defendants would expect to show that Select was an early-stage loyalty program
with a membership of well less than 1% of Groupon's customer base.
  18. The Parties exchanged their initial disclosures on October 1, 2021. From October 2021
through April 2022, counsel for Lead Plaintiff and Defendants began to engage in fact discovery.
Over the course of discovery, Lead Counsel reviewed and analyzed more than 90,000 pages of
documents produced by Defendants and third parties. In addition to responding to discovery,
Defendants propounded Requests for Production of Documents and written Interrogatories upon
Lead Plaintiff, to which Lead Plaintiff responded and produced documents.
  19. While discovery was ongoing, the Parties agreed to participate in private mediation. The
Parties selected Jed D. Melnick, Esq. of JAMS to serve as mediator. The Parties exchanged
extensive mediation statements and exhibits that addressed, among other things, issues related to
liability and damages. On March 15, 2022, the Parties participated in a virtual, full-day mediation
session. The session ended without an agreement to settle and the Parties continued with
discovery.
 20. Mr. Melnick conducted further discussions with the Parties, which culminated in a
mediator’s recommendation to resolve the Action for $13,500,000 for the benefit of the Settlement
Class, which the Parties accepted.
  21. Based on the investigation and mediation of the case and Lead Plaintiff’s direct oversight
of the prosecution of this matter and with the advice of their counsel, Lead Plaintiff has agreed to
settle and release the claims raised in the Action pursuant to the terms and provisions of the
Stipulation after considering, among other things: (a) the substantial financial benefit that Lead



                                                  6
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 21 of 50 PageID #:1317




Plaintiff and the other members of the Settlement Class will receive under the proposed Settlement;
and (b) the significant risks and costs of continued litigation and trial.
  22. Defendants are entering into the Stipulation solely to eliminate the uncertainty, burden, and
expense of further protracted litigation. Each of the Defendants denies any wrongdoing, and the
Stipulation shall in no event be construed or deemed to be evidence of or an admission or
concession on the part of any of the Defendants, or any other of the Defendants’ Releasees (defined
in ¶ 34 below), with respect to any claim or allegation of any fault or liability or wrongdoing or
damage whatsoever, or any infirmity in the defenses that Defendants have, or could have, asserted.
Similarly, the Stipulation shall in no event be construed or deemed to be evidence of or an
admission or concession on the part of Lead Plaintiff of any infirmity in any of the claims asserted
in the Action, or an admission or concession that any of the Defendants’ defenses to liability had
any merit.
 23. On _____________, 2022, the Court preliminarily approved the Settlement, authorized this
Notice to be disseminated to potential Settlement Class Members, and scheduled the Settlement
Hearing to consider whether to grant final approval to the Settlement.

               HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                   WHO IS INCLUDED IN THE SETTLEMENT CLASS?

  24. If you are a member of the Settlement Class, you are subject to the Settlement, unless you
timely request to be excluded. The Settlement Class consists of:
       all persons and entities who or that, between July 30, 2019, and February 18, 2020,
       inclusive, purchased or otherwise acquired Groupon common stock and were
       damaged thereby.
Excluded from the Settlement Class are: (i) Defendants; (ii) any person who served as a control
person, executive officer, and/or director of Groupon during the Settlement Class Period, and
members of his or her Immediate Family; (iii) present and former parents, subsidiaries, assigns,
successors, affiliates, and predecessors of Groupon; (iv) any entity in which Defendants have or
had a controlling interest during the Settlement Class Period; (v) any trust of which any Individual
Defendant is the settlor or that is for the benefit of any Individual Defendant and/or member(s) of
his or her Immediate Family; and (vi) the legal representatives, heirs, successors, and assigns of
any person or entity excluded under provisions (i) through (v) hereof. Also excluded from the
Settlement Class are any persons or entities who or that exclude themselves by submitting a request
for exclusion in accordance with the requirements set forth in this Notice. See “What If I Do Not
Want To Be A Member Of The Settlement Class? How Do I Exclude Myself,” on page [__]
below.
PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A
SETTLEMENT CLASS MEMBER OR THAT YOU WILL BE ENTITLED TO RECEIVE
PROCEEDS FROM THE SETTLEMENT. IF YOU ARE A SETTLEMENT CLASS
MEMBER AND YOU WISH TO BE ELIGIBLE TO PARTICIPATE IN THE
DISTRIBUTION OF PROCEEDS FROM THE SETTLEMENT, YOU ARE REQUIRED
TO SUBMIT THE CLAIM FORM THAT IS BEING DISTRIBUTED WITH THIS
NOTICE AND THE REQUIRED SUPPORTING DOCUMENTATION AS SET FORTH
THEREIN ONLINE OR POSTMARKED NO LATER THAN _____________, 2022.

                                                 7
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 22 of 50 PageID #:1318




           WHAT ARE LEAD PLAINTIFF’S REASONS FOR THE SETTLEMENT?

  25. Lead Plaintiff and Lead Counsel believe that the claims asserted against Defendants have
merit. They recognize, however, the expense and length of continued proceedings necessary to
pursue their claims against the remaining Defendants through trial and appeals, as well as the very
substantial risks they would face in establishing liability and damages. For example, Defendants
argued and would have continued to argue that the Select loyalty program was not over-indexing
to Goods as of the start of the Settlement Class Period, the Select loyalty program was in any event
not material to Groupon investors, and that Defendants had not yet decided to exit Groupon’s
Goods business at the time of the challenged statements, contrary to Lead Plaintiff’s allegations.
Defendants have also argued that any investor losses were not caused by any of the alleged
misrepresentations. Additionally, Lead Plaintiff would have to prevail at several stages – class
certification, motions for summary judgment, trial, and if he prevailed on those, on the appeals
that would likely follow. Thus, there were very significant risks attendant to the continued
prosecution of the Action.
   26. In light of these risks, the amount of the Settlement and the immediacy of recovery to the
Settlement Class, Lead Plaintiff and Lead Counsel believe that the proposed Settlement is fair,
reasonable, and adequate, and in the best interests of the Settlement Class. Lead Plaintiff and Lead
Counsel believe that the Settlement provides a substantial benefit to the Settlement Class, namely
$13,500,000 in cash (less the various deductions described in this Notice), as compared to the risk
that the claims in the Action would produce a smaller, or no recovery after summary judgment,
trial, and appeals, possibly years in the future.
  27. Defendants have denied the claims asserted against them in the Action and deny having
engaged in any wrongdoing or violation of law of any kind whatsoever. Defendants have agreed
to the Settlement solely to eliminate the burden and expense of continued litigation. Accordingly,
the Settlement may not be construed as an admission of any wrongdoing by Defendants.

                WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

  28. If there were no Settlement and Lead Plaintiff failed to establish any essential legal or
factual element of the claims asserted against Defendants, neither Lead Plaintiff nor the other
members of the Settlement Class would recover anything from Defendants. Also, if Defendants
were successful in proving any of their defenses, either at summary judgment, at trial, or on appeal,
the Settlement Class could recover substantially less than the amount provided in the Settlement,
or nothing at all.

                  HOW ARE SETTLEMENT CLASS MEMBERS AFFECTED
                      BY THE ACTION AND THE SETTLEMENT?

   29. As a Settlement Class Member, you are represented by Lead Plaintiff and Lead Counsel,
unless you enter an appearance through counsel of your own choice at your own expense. You
are not required to retain your own counsel, but if you choose to do so, such counsel must file a
notice of appearance on your behalf and must serve copies of his or her appearance on the attorneys
listed in the section below entitled, “When And Where Will The Court Decide Whether To
Approve The Settlement?”.
                                                 8
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 23 of 50 PageID #:1319




  30. If you are a Settlement Class Member and do not wish to remain a Settlement Class
Member, you may exclude yourself from the Settlement Class by following the instructions in the
section below entitled, “What If I Do Not Want To Be A Member Of The Settlement Class? How
Do I Exclude Myself?”.
  31. If you are a Settlement Class Member and you wish to object to the Settlement, the Plan of
Allocation, or Lead Counsel’s application for attorneys’ fees and reimbursement of Litigation
Expenses, and if you do not exclude yourself from the Settlement Class, you may present your
objections by following the instructions in the section below entitled, “When And Where Will The
Court Decide Whether To Approve The Settlement?”.
  32. If you are a Settlement Class Member and you do not exclude yourself from the Settlement
Class, you will be bound by any orders issued by the Court. If the Settlement is approved, the
Court will enter a judgment (the “Judgment”). The Judgment will dismiss with prejudice the
claims against Defendants and will provide that, upon the Effective Date of the Settlement, Lead
Plaintiff and each of the other Settlement Class Members, on behalf of themselves, and their
respective heirs, executors, administrators, predecessors, successors, and assigns in their capacities
as such, will have fully, finally, and forever compromised, settled, released, resolved, relinquished,
waived, and discharged each and every Released Plaintiff’s Claim (as defined in ¶ 33 below)
against Defendants’ Releasees (as defined in ¶ 34 below), and shall forever be barred and enjoined
from prosecuting any or all of the Released Plaintiff’s Claims against any of the Defendants’
Releasees.
  33. “Released Plaintiff’s Claims” means all claims and causes of action of every nature and
description, whether known claims or Unknown Claims, whether arising under federal, state,
common, or foreign law, that Lead Plaintiff or any other member of the Settlement Class:
(i) asserted in the Complaint; or (ii) could have asserted in any forum that arise out of or are based
upon the allegations, transactions, facts, matters or occurrences, representations or omissions
involved, set forth, or referred to in the Complaint and that relate to the purchase or acquisition of
Groupon common stock during the Settlement Class Period. However, Released Plaintiff’s Claims
do not include: (i) any claims relating to the enforcement of the Settlement; (ii) any claims asserted
in Frankel v. Thomas, 1:21-cv-01281-RGA (D. Del.), Estreen v. Lefkofsky, C.A. No. 2022-0057-
PAF (Del. Ch.), Khoury v. Williams, C.A. No. 2022-0077-PAF (Del. Ch.), and/or Anders v.
Angelakis, C.A. No. 2022-0407-MTZ (Del. Ch.); and (iii) any claims of any person or entity who
or that submits a request for exclusion that is accepted by the Court.
  34. “Defendants’ Releasees” means Defendants and their current and former officers,
directors, agents, parents, affiliates, subsidiaries, successors, predecessors, assigns, assignees,
insurers, reinsurers, employees, and attorneys, in their capacities as such.
  35. “Unknown Claims” means any Released Plaintiffs’ Claims that Lead Plaintiff or any other
Settlement Class Member does not know or suspect to exist in his, her, or its favor at the time of
the release of such claims, and any Released Defendants’ Claims that any Defendant or any other
Defendants’ Releasee does not know or suspect to exist in his, her, or its favor at the time of the
release of such claims, that, if known by him, her, or it, might have affected his, her, or its
decision(s) with respect to this Settlement. With respect to any and all Released Claims, the Parties
stipulate and agree that, upon the Effective Date of the Settlement, Lead Plaintiffs and Defendants
shall expressly waive, and each of the other Settlement Class Members and each of the other
Defendants’ Releasees shall be deemed to have waived, and by operation of the Judgment or the

                                                  9
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 24 of 50 PageID #:1320




Alternate Judgment, if applicable, shall have expressly waived, any and all provisions, rights, and
benefits conferred by any law of any state or territory of the United States, or principle of common
law or foreign law, that is similar, comparable, or equivalent to California Civil Code §1542, which
provides:
       A general release does not extend to claims that the creditor or releasing party does
       not know or suspect to exist in his or her favor at the time of executing the release
       and that, if known by him or her, would have materially affected his or her
       settlement with the debtor or released party.

Lead Plaintiff and Defendants acknowledge, and each of the other Settlement Class Members and
each of the other Defendants’ Releasees shall be deemed by operation of law to have
acknowledged, that the foregoing waiver was separately bargained for and a key element of the
Settlement.

  36. The Judgment will also provide that, upon the Effective Date of the Settlement, Defendants
and each of the other Defendants’ Releasees, on behalf of themselves, and their respective heirs,
executors, administrators, predecessors, successors, and assigns in their capacities as such, will
have fully, finally, and forever compromised, settled, released, resolved, relinquished, waived, and
discharged each and every Released Defendants’ Claim (as defined in ¶ 37 below) against Lead
Plaintiff and other Plaintiff’s Releasees (as defined in ¶ 38 below), and shall forever be barred and
enjoined from prosecuting any or all of the Released Defendants’ Claims against any of the
Plaintiff’s Releasees.
  37. “Released Defendants’ Claims” means all claims and causes of action of every nature and
description, whether known claims or Unknown Claims, whether arising under federal, state,
common, or foreign law, that arise out of or relate in any way to the institution, prosecution, or
settlement of the claims asserted in the Action against Defendants. Released Defendants’ Claims
do not include any claims relating to the enforcement of the Settlement or any claims against any
person or entity who or that submits a request for exclusion from the Settlement Class that is
accepted by the Court.
  38. “Plaintiff’s Releasees” means Lead Plaintiff, all other plaintiffs in the Action, their
respective attorneys, and all other Settlement Class Members, and their respective current and
former officers, directors, agents, parents, affiliates, subsidiaries, successors, predecessors,
assigns, assignees, employees, and attorneys, in their capacities as such.

       HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?

  39. To be eligible for a payment from the proceeds of the Settlement, you must be a member
of the Settlement Class and you must timely complete and return the Claim Form with adequate
supporting documentation online or postmarked no later than _____________, 2022. A Claim
Form is included with this Notice, or you may obtain one from the website maintained by the
Claims Administrator for the Settlement, www.GrouponSecuritiesSettlement.com, or you may
request that a Claim Form be mailed to you by calling the Claims Administrator toll free at 1-866-
991-0893. Please retain all records of your ownership of and transactions in Groupon common
stock, as they may be needed to document your Claim. If you request exclusion from the


                                                 10
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 25 of 50 PageID #:1321




Settlement Class or do not submit a timely and valid Claim Form, you will not be eligible to share
in the Net Settlement Fund.

                             HOW MUCH WILL MY PAYMENT BE?

  40. At this time, it is not possible to make any determination as to how much any individual
Settlement Class Member may receive from the Settlement.
  41. Pursuant to the Settlement, Defendants have agreed to pay or caused to be paid thirteen
million five hundred thousand dollars ($13,500,000) in cash. The Settlement Amount will be
deposited into an escrow account. The Settlement Amount plus any interest earned thereon is
referred to as the “Settlement Fund.” If the Settlement is approved by the Court and the Effective
Date occurs, the “Net Settlement Fund” (that is, the Settlement Fund less (a) all federal, state and/or
local taxes on any income earned by the Settlement Fund and the reasonable costs incurred in
connection with determining the amount of and paying taxes owed by the Settlement Fund
(including reasonable expenses of tax attorneys and accountants); (b) the costs and expenses
incurred in connection with providing notice to Settlement Class Members and administering the
Settlement on behalf of Settlement Class Members; and (c) any attorneys’ fees and Litigation
Expenses awarded by the Court) will be distributed to Settlement Class Members who submit valid
Claim Forms, in accordance with the proposed Plan of Allocation or such other plan of allocation
as the Court may approve.
  42. The Net Settlement Fund will not be distributed unless and until the Court has approved
the Settlement and a plan of allocation, and the time for any petition for rehearing, appeal, or
review, whether by certiorari or otherwise, has expired.
  43. Neither Defendants nor any other person or entity that paid any portion of the Settlement
Amount on their behalf are entitled to get back any portion of the Settlement Fund once the Court’s
order or judgment approving the Settlement becomes Final. Defendants shall not have any
liability, obligation, or responsibility for the administration of the Settlement, the disbursement of
the Net Settlement Fund, or the plan of allocation.
  44. Approval of the Settlement is independent from approval of a plan of allocation. Any
determination with respect to a plan of allocation will not affect the Settlement, if approved.
  45. Unless the Court otherwise orders, any Settlement Class Member who fails to submit a
Claim Form online or postmarked on or before _____________, 2022 shall be fully and forever
barred from receiving payments pursuant to the Settlement but will in all other respects remain a
Settlement Class Member and be subject to the provisions of the Stipulation, including the terms
of any Judgment entered and the releases given. This means that each Settlement Class Member
releases the Released Plaintiff’s Claims (as defined in ¶ 33 above) against Defendants’ Releasees
(as defined in ¶ 34 above) and will be enjoined and prohibited from filing, prosecuting, or pursuing
any of the Released Plaintiff’s Claims against any of Defendants’ Releasees whether or not such
Settlement Class Member submits a Claim Form.
  46. Participants in and beneficiaries of a plan covered by ERISA (“ERISA Plan”) should NOT
include any information relating to their transactions in Groupon common stock held through the
ERISA Plan in any Claim Form that they may submit in this Action. They should include ONLY
those shares that they purchased or acquired outside of the ERISA Plan. Claims based on any
ERISA Plan’s purchases or acquisitions of Groupon common stock during the Settlement Class

                                                  11
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 26 of 50 PageID #:1322




Period may be made by the plan’s trustees. To the extent any of the Defendants or any of the other
persons or entities excluded from the Settlement Class are participants in the ERISA Plan, such
persons or entities shall not receive, either directly or indirectly, any portion of the recovery that
may be obtained from the Settlement by the ERISA Plan.
 47. The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the
Claim of any Settlement Class Member.
  48. Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with
respect to his, her, or its Claim Form.
  49. Only Settlement Class Members, i.e., persons and entities who purchased or otherwise
acquired Groupon common stock during the Settlement Class Period will be eligible to share in
the distribution of the Net Settlement Fund. Persons and entities that are excluded from the
Settlement Class by definition or that exclude themselves from the Settlement Class pursuant to
request will not be eligible to receive a distribution from the Net Settlement Fund and should not
submit Claim Forms. The only securities that are included in the Settlement are shares of Groupon
common stock.
                             PROPOSED PLAN OF ALLOCATION
  50. The objective of the Plan of Allocation is to equitably distribute the Settlement proceeds
to those Settlement Class Members who suffered economic losses as a proximate result of the
alleged wrongdoing. The calculations made pursuant to the Plan of Allocation are not intended to
be estimates of, nor indicative of, the amounts that Settlement Class Members might have been
able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation intended to
be estimates of the amounts that will be paid to Authorized Claimants pursuant to the Settlement.
The computations under the Plan of Allocation are only a method to weigh the claims of
Authorized Claimants against one another for the purposes of making pro rata allocations of the
Net Settlement Fund.

  51. The Plan of Allocation generally measures the amount of loss that a Settlement Class
Member can claim for purposes of making pro rata allocations of the cash in the Net Settlement
Fund to Authorized Claimants. The Plan of Allocation is not a formal damage analysis.
Recognized Loss Amounts are based primarily on the price declines observed over the period
which Plaintiffs allege corrective information was entering the market place. In this case, Lead
Plaintiff alleges that Defendants made false statements and omitted material facts between July
30, 2019 through and including February 18, 2020, which had the effect of artificially inflating the
price of Groupon common stock. The estimated alleged artificial inflation in the price of Groupon
common stock during the Settlement Class Period is reflected in Table 1 below. The computation
of the estimated alleged artificial inflation in the price of Groupon common stock during the
Settlement Class Period is based on certain misrepresentations alleged by Lead Plaintiff and the
price change in the stock in reaction to the public announcements that allegedly corrected the
misrepresentations alleged by Lead Plaintiff.
  52. In order to have recoverable damages, disclosures correcting the alleged misrepresentations
must be the cause of the decline in the price of the Groupon common stock. In this matter,
information disclosed after the market closed on February 18, 2020 allegedly corrected the
misrepresentations alleged by Lead Plaintiff, thereby removing the alleged artificial inflation from
the price of Groupon common stock on February 19, 2020. Accordingly, in order to have a

                                                 12
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 27 of 50 PageID #:1323




Recognized Loss Amount, Groupon common stock must have been purchased or acquired during
the Settlement Class Period and still held through market close on February 18, 2020.
  53. To the extent a Claimant’s transactions in Groupon common stock do not satisfy the
conditions set forth in the preceding paragraph, his, her or its Recognized Loss Amount for those
transactions will be zero.
                                             Table 1
                       Artificial Inflation in Groupon Common Stock3
             From                              To            Per-Share Price Inflation
         July 30, 2019                 February 18, 2020              $1.35
       February 19, 2020                   Thereafter                 $0.00

  54. The “90-day look back” provision of the Private Securities Litigation Reform Act of 1995
(“PSLRA”) is incorporated into the calculation of the Recognized Loss Amount for Groupon
common stock. The limitations on the calculation of the Recognized Loss Amount imposed by
the PSLRA are applied such that losses on Groupon common stock purchased during the
Settlement Class Period and held as of the close of the 90-day period subsequent to the Settlement
Class Period (the “90-Day Lookback Period”) cannot exceed the difference between the purchase
price paid for such stock and its average price during the 90-Day Lookback Period. The
Recognized Loss Amount on Groupon common stock purchased during the Settlement Class
Period and sold during the 90-Day Lookback Period cannot exceed the difference between the
purchase price paid for such stock and its rolling average price during the portion of the 90-Day
Lookback Period elapsed as of the date of sale.
  55. In the calculations below, all purchase and sale prices shall exclude any fees, taxes and
commissions. If a Recognized Loss Amount is calculated to be a negative number, that
Recognized Loss Amount shall be set to zero. Any transactions in Groupon common stock
executed outside of regular trading hours for the U.S. financial markets shall be deemed to have
occurred during the next regular trading session.
                  CALCULATION OF RECOGNIZED LOSS AMOUNTS
  56.      Based on the formula set forth below, a “Recognized Loss Amount” shall be calculated
for each purchase or acquisition of Groupon common stock during the Settlement Class Period
that is listed in the Claim Form and for which adequate documentation is provided.

       I. For each share purchased during the Settlement Class Period that was sold prior to
          February 19, 2020, the Recognized Loss Amount is $0.00.

       II. For each share purchased during the Settlement Class Period that was subsequently
           sold during the period February 19, 2020 through May 18, 2020, inclusive (i.e., the
           90-Day Lookback Period), the Recognized Loss Amount is the least of:



3
  After the Settlement Class Period, on June 11, 2020, Groupon stock underwent a 1-for-20 reverse
stock split. Groupon common stock prices and quantities reported herein are not adjusted for this
stock split.

                                               13
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 28 of 50 PageID #:1324




               a. $1.35; or

               b. the purchase price minus the “90-Day Lookback Value” on the date of sale as
                  appears in Table 2 below; or

               c. the purchase price minus the sale price.

       III. For each share purchased during the Settlement Class Period and still held as of the
            close of trading on May 18, 2020, the Recognized Loss Amount is the lesser of:

               a. 1.35; or

               b. the purchase price minus the average closing price for Groupon stock during
                  the 90-Day Lookback Period, which is $1.05.

                                                 Table 2
         Sale/         90-Day            Sale/            90-Day         Sale/          90-Day
      Disposition     Lookback        Disposition        Lookback     Disposition      Lookback
         Date           Value            Date              Value         Date            Value
      2/19/2020         $1.70         3/19/2020            $1.13      4/20/2020          $1.00
      2/20/2020         $1.70         3/20/2020            $1.11      4/21/2020          $1.00
      2/21/2020         $1.68         3/23/2020            $1.09      4/22/2020          $1.00
      2/24/2020         $1.65         3/24/2020            $1.08      4/23/2020          $1.00
      2/25/2020         $1.62         3/25/2020            $1.07      4/24/2020          $1.01
      2/26/2020         $1.58         3/26/2020            $1.07      4/27/2020          $1.01
      2/27/2020         $1.55         3/27/2020            $1.07      4/28/2020          $1.02
      2/28/2020         $1.52         3/30/2020            $1.07      4/29/2020          $1.02
       3/2/2020         $1.50         3/31/2020            $1.07      4/30/2020          $1.03
       3/3/2020         $1.47          4/1/2020            $1.06       5/1/2020          $1.03
       3/4/2020         $1.45          4/2/2020            $1.05       5/4/2020          $1.03
       3/5/2020         $1.42          4/3/2020            $1.04       5/5/2020          $1.04
       3/6/2020         $1.40          4/6/2020            $1.04       5/6/2020          $1.04
       3/9/2020         $1.37          4/7/2020            $1.03       5/7/2020          $1.04
      3/10/2020         $1.34          4/8/2020            $1.03       5/8/2020          $1.04
      3/11/2020         $1.31          4/9/2020            $1.02      5/11/2020          $1.04
      3/12/2020         $1.28         4/13/2020            $1.02      5/12/2020          $1.04
      3/13/2020         $1.25         4/14/2020            $1.02      5/13/2020          $1.04
      3/16/2020         $1.22         4/15/2020            $1.01      5/14/2020          $1.04
      3/17/2020         $1.19         4/16/2020            $1.01      5/15/2020          $1.05
      3/18/2020         $1.16         4/17/2020            $1.00      5/18/2020          $1.05


                                 ADDITIONAL PROVISIONS

 57.      The Net Settlement Fund will be allocated among all Authorized Claimants whose
Distribution Amount (defined in paragraph 60 below) is $10.00 or greater .
  58.     FIFO Matching: If a Settlement Class Member has more than one purchase/acquisition
or sale of Groupon common stock, all purchases/acquisitions and sales shall be matched on a First
In, First Out (“FIFO”) basis. Settlement Class Period sales will be matched first against any
holdings at the beginning of the Settlement Class Period, and then against purchases/acquisitions


                                                14
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 29 of 50 PageID #:1325




in chronological order, beginning with the earliest purchase/acquisition made during the
Settlement Class Period.
  59.     Calculation of Claimant’s “Recognized Claim”: A Claimant’s “Recognized Claim”
under the Plan of Allocation shall be the sum of his, her or its Recognized Loss Amounts for all
shares of the Groupon common stock.
  60.     Determination of Distribution Amount: The Net Settlement Fund will be distributed
to Authorized Claimants on a pro rata basis based on the relative size of their Recognized Claims.
Specifically, a “Distribution Amount” will be calculated for each Authorized Claimant, which
shall be the Authorized Claimant’s Recognized Claim divided by the total Recognized Claims of
all Authorized Claimants, multiplied by the total amount in the Net Settlement Fund. If any
Authorized Claimant’s Distribution Amount calculates to less than $10.00, it will not be included
in the calculation and no distribution will be made to such Authorized Claimant.
  61. “Purchase/Sale” Dates: Purchases or acquisitions and sales of Groupon common stock
shall be deemed to have occurred on the “contract” or “trade” date as opposed to the “settlement”
or “payment” date. The receipt or grant by gift, inheritance or operation of law of Groupon
common stock during the Settlement Class Period shall not be deemed a purchase, acquisition or
sale of Groupon common stock for the calculation of an Authorized Claimant’s Recognized Loss
Amount, nor shall the receipt or grant be deemed an assignment of any claim relating to the
purchase/acquisition of any Groupon common stock unless (i) the donor or decedent purchased or
otherwise acquired such Groupon common stock during the Settlement Class Period; (ii) no Claim
Form was submitted by or on behalf of the donor, on behalf of the decedent, or by anyone else
with respect to such Groupon common stock; and (iii) it is specifically so provided in the
instrument of gift or assignment.
  62. Short Sales: The date of covering a “short sale” is deemed to be the date of purchase or
acquisition of the Groupon common stock. The date of a “short sale” is deemed to be the date of
sale of Groupon common stock. Under the Plan of Allocation, however, the Recognized Loss
Amount on “short sales” is zero. In the event that a Claimant has an opening short position in
Groupon common stock, the earliest Settlement Class Period purchases or acquisitions shall be
matched against such opening short position, and not be entitled to a recovery, until that short
position is fully covered.
  63. Option Contracts: Option contracts are not securities eligible to participate in the
Settlement. With respect to Groupon common stock purchased through the exercise of an option,
the purchase date of the Groupon common stock shall be the exercise date of the option, and the
purchase price of the Groupon common stock shall be the strike price of Groupon common stock
on the date of exercise. Any Recognized Loss Amount arising from purchases of Groupon
common stock acquired during the Settlement Class Period through the exercise of an option on
Groupon common stock shall be computed as provided for other purchases of Groupon common
stock in the Plan of Allocation.
  64. Market Gains and Losses: To the extent a Claimant had a market gain with respect to
his, her, or its overall transactions in Groupon common stock during the Settlement Class Period,
the value of the Claimant’s Recognized Claim shall be zero. To the extent that a Claimant suffered
an overall market loss with respect to his, her, or its overall transactions in Groupon common stock
during the Settlement Class Period, but that market loss was less than the total Recognized Claim


                                                15
    Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 30 of 50 PageID #:1326




calculated above, then the Claimant’s Recognized Claim shall be limited to the amount of the
actual market loss.
  65. For purposes of determining whether a Claimant had a market gain with respect to his,
her, or its overall transactions in Groupon common stock during the Settlement Class Period or
suffered a market loss, the Claims Administrator shall determine the difference between (i) the
Total Purchase Amount4 and (ii) the sum of the Total Sales Proceeds5 and the Holding Value.6 If
the Claimant’s Total Purchase Amount minus the sum of the Total Sales Proceeds and the Holding
Value is a positive number, that number will be the Claimant’s market loss on such securities; if
the number is a negative number or zero, that number will be the Claimant’s market gain on such
securities.
  66. After the initial distribution of the Net Settlement Fund, the Claims Administrator shall
make reasonable and diligent efforts to have Authorized Claimants cash their distribution checks.
To the extent any monies remain in the fund nine (9) months after the initial distribution, if Lead
Counsel, in consultation with the Claims Administrator, determines that it is cost-effective to do
so, the Claims Administrator shall conduct a re-distribution of the funds remaining after payment
of any unpaid fees and expenses incurred in administering the Settlement, including for such re-
distribution, to Authorized Claimants who have cashed their initial distributions and who would
receive at least $10.00 from such re-distribution. Additional re-distributions to Authorized
Claimants who have cashed their prior checks and who would receive at least $10.00 on such
additional re-distributions may occur thereafter if Lead Counsel, in consultation with the Claims
Administrator, determines that additional re-distributions, after the deduction of any additional
fees and expenses incurred in administering the Settlement, including for such re-distributions,
would be cost-effective. At such time as it is determined that the re-distribution of funds remaining
in the Net Settlement Fund is not cost-effective, the remaining balance shall be contributed to non-
sectarian, not-for-profit organization(s), to be recommended by Lead Counsel and approved by the
Court.
  67. Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be
approved by the Court, shall be conclusive against all Authorized Claimants. No person shall have
any claim against Lead Plaintiff, Plaintiff’s Counsel, Lead Plaintiff’s damages expert, Defendants,
Defendants’ Counsel, or any of the other Releasees, or the Claims Administrator or other agent
designated by Lead Counsel arising from distributions made substantially in accordance with the
Stipulation, the plan of allocation approved by the Court, or further Orders of the Court. Lead

4
 The “Total Purchase Amount” is the total amount the Claimant paid (excluding commissions and
other charges) for all Groupon common stock purchased or acquired during the Class Period.
5
  The Claims Administrator shall match any sales of Groupon common stock during the Class
Period, first against the Claimant’s opening position in Groupon common stock (the proceeds of
those sales will not be considered for purposes of calculating market gains or losses). The total
amount received (excluding commissions and other charges) for the remaining sales of Groupon
common stock sold during the Settlement Class Period shall be the “Total Sales Proceeds.”
6
 The Claims Administrator shall ascribe a “Holding Value” to shares of Groupon common stock
purchased or acquired during the Settlement Class Period and still held as of the close of trading
on February 18, 2020, which shall be $1.05. The total calculated holding values for all Groupon
common stock shall be the Claimant’s “Total Holding Value.”

                                                 16
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 31 of 50 PageID #:1327




Plaintiff, Defendants and their respective counsel, and all other Defendants’ Releasees, shall have
no responsibility or liability whatsoever for the investment or distribution of the Settlement Fund,
the Net Settlement Fund, the plan of allocation, or the determination, administration, calculation,
or payment of any Claim Form or nonperformance of the Claims Administrator, the payment or
withholding of taxes owed by the Settlement Fund, or any losses incurred in connection therewith.

  68. The Plan of Allocation set forth herein is the plan that is being proposed to the Court for
its approval by Lead Plaintiff after consultation with his damages expert. The Court may approve
this plan as proposed or it may modify the Plan of Allocation without further notice to the
Settlement Class. Any Orders regarding any modification of the Plan of Allocation will be posted
on the settlement website, www.GrouponSecuritiesSettlement.com.

  WHAT PAYMENT ARE THE ATTORNEYS FOR THE SETTLEMENT CLASS SEEKING?
                   HOW WILL THE LAWYERS BE PAID?

  69. Plaintiff’s Counsel have not received any payment for their services in pursuing claims
against the Defendants on behalf of the Settlement Class, nor have Plaintiff’s Counsel been
reimbursed for their out-of-pocket expenses. Before final approval of the Settlement, Lead
Counsel will apply to the Court for an award of attorneys’ fees for all Plaintiff’s Counsel in an
amount not to exceed 33⅓% of the Settlement Fund. At the same time, Lead Counsel also intends
to apply for reimbursement of Litigation Expenses in an amount not to exceed $350,000, which
may include an application for reimbursement of the reasonable costs and expenses incurred by
Lead Plaintiff directly related to his representation of the Settlement Class in an amount not to
exceed $5,000. The Court will determine the amount of any award of attorneys’ fees or
reimbursement of Litigation Expenses. Such sums as may be approved by the Court will be paid
from the Settlement Fund. Settlement Class Members are not personally liable for any such fees
or expenses.

      WHAT IF I DO NOT WANT TO BE A MEMBER OF THE SETTLEMENT CLASS?
                         HOW DO I EXCLUDE MYSELF?

  70. Each Settlement Class Member will be bound by all determinations and judgments in this
lawsuit, whether favorable or unfavorable, unless such person or entity mails or delivers a written
Request for Exclusion from the Settlement Class, addressed to Macovski v. Groupon Inc.,
EXCLUSIONS, c/o Epiq, P.O. Box 2648, Portland, OR 97208-2648. The exclusion request must
be received no later than _____________, 2022. You will not be able to exclude yourself from
the Settlement Class after that date. Each Request for Exclusion must (a) state the name, address
and telephone number of the person or entity requesting exclusion, and in the case of entities the
name and telephone number of the appropriate contact person; (b) state that such person or entity
“requests exclusion from the Settlement Class in Macovski v. Groupon, Inc., No. 1:20-cv-02581”;
(c) identify and state the number of shares of Groupon common stock that the person or entity
requesting exclusion purchased/acquired and/or sold during the Settlement Class Period (i.e.,
between July 30, 2019 and February 18, 2020, inclusive), as well as the dates and prices of each
such purchase/acquisition and sale; and (d) be signed by the person or entity requesting exclusion
or an authorized representative. A Request for Exclusion shall not be valid and effective unless it



                                                17
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 32 of 50 PageID #:1328




provides all the information called for in this paragraph and is received within the time stated
above, or is otherwise accepted by the Court.
  71. If you do not want to be part of the Settlement Class, you must follow these instructions
for exclusion even if you have pending, or later file, another lawsuit, arbitration, or other
proceeding relating to any Released Plaintiff’s Claim against any of the Defendants’ Releasees.
  72. If you ask to be excluded from the Settlement Class, you will not be eligible to receive any
payment out of the Net Settlement Fund.
  73. Defendants have the right to terminate the Settlement if valid requests for exclusion are
received from persons and entities entitled to be members of the Settlement Class in an amount
that exceeds a threshold agreed to by Lead Plaintiff and Defendants.

     WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
            SETTLEMENT? DO I HAVE TO COME TO THE HEARING?
       MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE SETTLEMENT?

  74. Settlement Class Members do not need to attend the Settlement Hearing. The Court
will consider any submission made in accordance with the provisions below even if a
Settlement Class Member does not attend the hearing. You can participate in the Settlement
without attending the Settlement Hearing.
   75. The Settlement Hearing will be held on _____________, 2022 at __:__ _.m., before the
Honorable Matthew F. Kennelly at the United States District Court for the Northern District of
Illinois, Everett McKinley Dirksen United States Courthouse, Courtroom 2103, 219 S. Dearborn
Street, Chicago, IL 60604. The Court reserves the right to approve the Settlement, the Plan of
Allocation, Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation
Expenses, and/or any other matter related to the Settlement at or after the Settlement Hearing
without further notice to the members of the Settlement Class. The Court also reserves the right
to hold the Settlement Hearing telephonically or via videoconference.
  76. Any Settlement Class Member who or that does not request exclusion may object to the
Settlement, the proposed Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’
fees and reimbursement of Litigation Expenses. Objections must be in writing. You must file any
written objection, together with copies of all other papers and briefs supporting the objection, with
the Clerk’s Office at the United States District Court for the Northern District of Illinois at the
address set forth below on or before _____________, 2022. You must also serve the papers on
Lead Counsel and on Defendants’ Counsel at the addresses set forth below so that the papers are
received on or before _____________, 2022.




                                                 18
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 33 of 50 PageID #:1329




       Clerk’s Office                     Lead Counsel                   Defendants’ Counsel

United States District Court    Kirby McInerney LLP                  Skadden, Arps, Slate,
Northern District of Illinois   Thomas W. Elrod, Esq.                Meagher & Flom LLP
Clerk of the Court              250 Park Avenue, Suite 820           Matthew R. Kipp, Esq.
United States Courthouse        New York, NY 10177                   155 N. Wacker Drive
219 S. Dearborn Street,                                              Chicago, IL 60606
                                -and-
Chicago, IL 60604
                                Glancy Prongay & Murray
                                LLP
                                Leanne H. Solish, Esq.
                                1925 Century Park East,
                                Suite 2100
                                Los Angeles, CA 90067
  77. Any objection (a) must state the name, address, and telephone number of the person or
entity objecting and must be signed by the objector; (b) must contain a statement of the Settlement
Class Member’s objection or objections, and the specific reasons for each objection, including any
legal and evidentiary support the Settlement Class Member wishes to bring to the Court’s attention;
and (c) must include documents sufficient to prove membership in the Settlement Class, including
the number of shares of Groupon common stock that the objecting Settlement Class Member
purchased/acquired and/or sold during the Settlement Class Period (i.e., between July 30, 2019
and February 18, 2020 inclusive), as well as the dates and prices of each such purchase/acquisition
and sale. You may not object to the Settlement, the Plan of Allocation, or Lead Counsel’s motion
for attorneys’ fees and reimbursement of Litigation Expenses if you exclude yourself from the
Settlement Class or if you are not a member of the Settlement Class.
  78. You may file a written objection without having to appear at the Settlement Hearing. You
may not, however, appear at the Settlement Hearing to present your objection unless you first file
and serve a written objection in accordance with the procedures described above, unless the Court
orders otherwise.
  79. If you wish to be heard orally at the hearing in opposition to the approval of the Settlement,
the Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and
reimbursement of Litigation Expenses, and if you timely file and serve a written objection as
described above, you must also file a notice of appearance with the Clerk’s Office and serve it on
Lead Counsel and Defendants’ Counsel at the addresses set forth above so that it is received on or
before _____________, 2022. Persons who intend to object and desire to present evidence at the
Settlement Hearing must include in their written objection or notice of appearance the identity of
any witnesses they may call to testify and exhibits they intend to introduce into evidence at the
hearing. Such persons may be heard orally at the discretion of the Court.
  80. You are not required to hire an attorney to represent you in making written objections or
in appearing at the Settlement Hearing. However, if you decide to hire an attorney, it will be at
your own expense, and that attorney must file a notice of appearance with the Court and serve it
on Lead Counsel and Defendants’ Counsel at the addresses set forth in ¶ 76 above so that the notice
is received on or _____________, 2022.


                                                19
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 34 of 50 PageID #:1330




  81. The Settlement Hearing may be adjourned by the Court, or held telephonically or via
videoconference, without further written notice to the Settlement Class. If you intend to attend the
Settlement Hearing, you should confirm the date, time, and location on the settlement website
www.GrouponSecuritiesSettlement.com, or with Lead Counsel, given potential changes as a result
of the COVID-19 pandemic.
  82. Unless the Court orders otherwise, any Settlement Class Member who does not object
in the manner described above will be deemed to have waived any objection and shall be
forever foreclosed from making any objection to the proposed Settlement, the proposed Plan
of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement
of Litigation Expenses. Settlement Class Members do not need to appear at the Settlement
Hearing or take any other action to indicate their approval.

               WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

  83. If you purchased or otherwise acquired Groupon common stock between July 30, 2019 and
February 18, 2020 inclusive, for the beneficial interest of persons or organizations other than
yourself, you must either (a) within seven (7) calendar days of receipt of this Notice, request from
the Claims Administrator sufficient copies of the Notice and Claim Form (the “Notice Packet”) to
forward to all such beneficial owners and within seven (7) calendar days of receipt of those Notice
Packets forward them to all such beneficial owners; or (b) within seven (7) calendar days of receipt
of this Notice, provide a list of the names and addresses of all such beneficial owners to Macovski
v. Groupon, Inc., c/o Epiq, P.O. Box 2648, Portland, OR 97208-2648. If you choose the second
option, the Claims Administrator will send a copy of the Notice and the Claim Form to the
beneficial owners. Upon full compliance with these directions, such nominees may seek
reimbursement of their reasonable expenses actually incurred—up to a maximum of $0.50 per
Notice Packet mailed; $0.05 per Notice Packet transmitted by email; or $0.10 per name, mailing
address, and email address (to the extent available) provided to the Claims Administrator—by
providing the Claims Administrator with proper documentation supporting the expenses for which
reimbursement is sought. Any dispute concerning the reasonableness of reimbursement costs shall
be resolved by the Court. Copies of this Notice and the Claim Form may also be obtained from
the website maintained by the Claims Administrator, www.GrouponSecuritiesSettlement.com, or
by calling the Claims Administrator toll-free at 1-866-991-0893.

  CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

   84. This Notice contains only a summary of the terms of the proposed Settlement. For more
detailed information about the matters involved in this Action, you are referred to the papers on
file in the Action, including the Stipulation, which may be inspected during regular office hours at
the Office of the Clerk, United States District Court for the Northern District of Illinois, Everett
McKinley Dirksen United States Courthouse, 219 S. Dearborn Street, Chicago, IL 60604.
Additionally, copies of the Stipulation and any related orders entered by the Court will be posted
on the website maintained by the Claims Administrator, www.GrouponSecuritiesSettlement.com.


 85. All inquiries concerning this Notice and the Claim Form should be directed to:


                                                20
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 35 of 50 PageID #:1331




         Macovski v. Groupon Inc.         and/or       Thomas W. Elrod, Esq.
                  c/o Epiq                          KIRBY MCINERNEY LLP
               P.O. Box 2648                        250 Park Avenue, Suite 820
         Portland, OR 97208-2648                        New York, NY 10177
              1-866-991-0893                                (212) 371-6600
    www.GrouponSecuritiesSettlement.com                   telrod@kmllp.com
                                                                 -and-
                                                       Leanne H. Solish, Esq.
                                                     GLANCY PRONGAY &
                                                            MURRAY LLP
                                                   1925 Century Park East, Suite
                                                                 2100
                                                      Los Angeles, CA 90067
                                                            (888) 773-9224
                                                    settlements@glancylaw.com
         DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE
         CLERK OF THE COURT, DEFENDANTS OR THEIR COUNSEL
         REGARDING THIS NOTICE.

Dated: _____________, 2022                              By Order of the Court
                                                        United States District Court
                                                        Northern District of Illinois




                                          21
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 36 of 50 PageID #:1332




                                                                                       Exhibit 2

                                 Macovski v. Groupon, Inc.
                                         c/o Epiq
                                      P.O. Box 2648
                                 Portland, OR 97208-2648
                            Toll Free Number: (866) 991-0893
                Settlement Website: www.GrouponSecuritiesSettlement.com
                      Email: info@GrouponSecuritiesSettlement.com


                    PROOF OF CLAIM AND RELEASE FORM
To be eligible to receive a share of the Net Settlement Fund in connection with the Settlement of
this Action, you must be a Settlement Class Member and complete and sign this Proof of Claim
and Release Form (“Claim Form”) and submit it online at www.GrouponSecuritiesSettlement.com
or mail it by first-class mail to the above address, submitted online or postmarked no later than
___________.

Failure to submit your Claim Form by the date specified will subject your claim to rejection and
may preclude you from being eligible to recover any money in connection with the Settlement.

Do not mail or deliver your Claim Form to the Court, the settling parties or their counsel.
Submit your Claim Form only to the Claims Administrator at the address set forth above.


     TABLE OF CONTENTS                                                                PAGE #

     PART I – CLAIMANT INFORMATION                                                       _

     PART II – GENERAL INSTRUCTIONS                                                      _

     PART III – SCHEDULE OF TRANSACTIONS
     IN GROUPON COMMON STOCK                                                             _

     PART IV – RELEASE OF CLAIMS AND SIGNATURE                                           _




                                               1
 Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 37 of 50 PageID #:1333




                                    PART I – CLAIMANT INFORMATION
                  (Please read General Instructions below before completing this page.)
The Claims Administrator will use this information for all communications regarding this Claim
Form. If this information changes, you MUST notify the Claims Administrator in writing at the
address above.
Beneficial Owner’s Name



Co-Beneficial Owner’s Name



Entity Name (if Beneficial Owner is not an individual)



Representative or Custodian Name (if different from Beneficial Owner(s) listed above)



Address1 (street name and number)



Address2 (apartment, unit or box number)



City                                                                State               Zip Code



Foreign Country (only if not USA)



Last four digits of Social Security Number or Taxpayer Identification Number



Telephone Number (home)                                     Telephone Number (work)



Email address (E-mail address is not required, but if you provide it you authorize the Claims Administrator to use it in providing
you with information relevant to this claim.):


Account Number (account(s) through which the securities were traded)1:


Claimant Account Type (check appropriate box):
     Individual (includes joint owner accounts)                 Pension Plan            Trust
     Corporation                                                Estate
     IRA/401K                                                   Other ___________________________ (please specify)

1
 If the account number is unknown, you may leave blank. If the same legal entity traded through
more than one account you may write “multiple.” Please see paragraph 11 of the General
Instructions for more information on when to file separate Claim Forms for multiple accounts, i.e.,
when you are filing on behalf of distinct legal entities.
                                                                2
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 38 of 50 PageID #:1334




                           PART II – GENERAL INSTRUCTIONS

        1.     It is important that you completely read and understand the Notice of (I) Pendency
of Class Action, Certification of Settlement Class, and Proposed Settlement; (II) Settlement
Hearing; and (III) Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation
Expenses (the “Settlement Notice”) that accompanies this Claim Form, including the Plan of
Allocation of the Net Settlement Fund set forth in the Settlement Notice. The Settlement Notice
describes the proposed Settlement, how Settlement Class Members are affected by the Settlement,
and the manner in which the Net Settlement Fund will be distributed if the Settlement and Plan of
Allocation are approved by the Court. The Settlement Notice also contains the definitions of many
of the defined terms (which are indicated by initial capital letters) used in this Claim Form. By
signing and submitting this Claim Form, you will be certifying that you have read and that you
understand the Settlement Notice, including the terms of the releases described therein and
provided for herein.
        2.      This Claim Form is directed to all persons or entities who or that, between July 30,
2019, and February 18, 2020, inclusive (the “Settlement Class Period”), purchased or otherwise
acquired Groupon, Inc. (“Groupon”) common stock (“Groupon Stock”) and were damaged thereby
(the “Settlement Class”). All persons and entities that are members of the Settlement Class are
referred to as “Settlement Class Members.”
        3.      Excluded from the Settlement Class are: (i) Defendants; (ii) any person who served
as a control person, executive officer and/or director of Groupon during the Settlement Class
Period, and members of his or her Immediate Family; (iii) present and former parents, subsidiaries,
assigns, successors, affiliates, and predecessors of Groupon; (iv) any entity in which Defendants
have or had a controlling interest during the Settlement Class Period; (v) any trust of which any
Individual Defendant is the settlor or that is for the benefit of any Individual Defendant and/or
member(s) of his or her Immediate Family; and (vi) the legal representatives, heirs, successors,
and assigns of any person or entity excluded under provisions (i) through (v) hereof. Also excluded
from the Settlement Class are any persons and entities who or that validly exclude themselves by
submitting a request for exclusion in accordance with the requirements set forth in the Settlement
Notice that is accepted by the Court.
      4.   If you are not a Settlement Class Member do not submit a Claim Form. YOU MAY
NOT, DIRECTLY OR INDIRECTLY, PARTICIPATE IN THE SETTLEMENT IF YOU ARE
NOT A SETTLEMENT CLASS MEMBER. THUS, IF YOU ARE EXCLUDED FROM THE
CLASS (AS SET FORTH IN PARAGRAPH 3 ABOVE), ANY CLAIM FORM THAT YOU
SUBMIT, OR THAT MAY BE SUBMITTED ON YOUR BEHALF, WILL NOT BE
ACCEPTED.
         5.     If you are a Settlement Class Member, you will be bound by the terms of any
judgments or orders entered in the Action WHETHER OR NOT YOU SUBMIT A CLAIM
FORM, unless you submit a request for exclusion from the Settlement Class. Thus, if you are a
Class Member, the Judgment will release, and you will be barred and enjoined from commencing,
instituting, prosecuting or continuing to prosecute any action or other proceeding in any court of
law or equity, arbitration tribunal or administrative forum, asserting each and every Released
Plaintiffs’ Claims (including Unknown Claims) against Defendants’ Releasees.
       6.      You are eligible to participate in the distribution of the Net Settlement Fund only if

                                                 3
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 39 of 50 PageID #:1335




you are a member of the Settlement Class and if you complete and return this form as specified
below. If you fail to submit a timely, properly addressed, and completed Claim Form with the
required documentation, your claim may be rejected and you may be precluded from receiving any
distribution from the Net Settlement Fund.
        7.      Submission of this Claim Form does not guarantee that you will share in the
proceeds of the Settlement. The distribution of the Net Settlement Fund will be governed by the
Plan of Allocation set forth in the Settlement Notice, if it is approved by the Court, or by such
other plan of allocation approved by the Court.
       8.      Use the Schedules of Transactions in Part III of this Claim Form to supply all
required details of your transaction(s) (including free transfers) in and holdings of the applicable
Groupon Stock. On the Schedules of Transactions, please provide all of the requested information
with respect to your holdings, purchases, acquisitions and sales of the applicable Groupon Stock,
whether such transactions resulted in a profit or a loss. Failure to report all transaction and holding
information during the requested time periods may result in the rejection of your claim.
        9.     Please note: Only Groupon Stock purchased or otherwise acquired during the
Settlement Class Period (i.e., from July 30, 2019 and February 18, 2020, inclusive) are eligible
under the Settlement. However, because the PSLRA provides for a “90-day look-back period”
(described in the Plan of Allocation set forth in the Settlement Notice), you must provide
documentation related to your purchases and sales of Groupon Stock during the period from
February 19, 2020, through and including May 18, 2020 (i.e., the 90-day look-back period) in
order for the Claims Administrator to calculate your Recognized Loss Amount under the Plan of
Allocation and process your claim. After the Settlement Class Period, on June 11, 2020, Groupon
common stock underwent a 1-for-20 reverse stock split. Groupon common stock prices and
quantities reported in the Plan of Allocation are not adjusted for this stock split. Please submit
your data claimed on a pre-split basis.
        10.    You are required to submit genuine and sufficient documentation for all of your
transactions and holdings of the applicable Groupon Stock set forth in the Schedules of
Transactions in Part III of this Claim Form. Documentation may consist of copies of brokerage
confirmation slips or monthly brokerage account statements, or an authorized statement from your
broker containing the transactional and holding information found in a broker confirmation slip or
account statement. The Parties and the Claims Administrator do not independently have
information about your investments in Groupon Stock. IF SUCH DOCUMENTS ARE NOT IN
YOUR        POSSESSION,          PLEASE       OBTAIN        COPIES       OR       EQUIVALENT
CONTEMPORANEOUS DOCUMENTS FROM YOUR BROKER. FAILURE TO SUPPLY
THIS DOCUMENTATION MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT
SEND ORIGINAL DOCUMENTS. Please keep a copy of all documents that you send to the
Claims Administrator. Also, please do not highlight any portion of the Claim Form or any
supporting documents.
        11.    Separate Claim Forms should be submitted for each separate legal entity (e.g., a
claim from joint owners should not include separate transactions through an account that is in the
name of just one of the joint owners, and an individual should not combine his or her IRA
transactions with transactions made through an account in the individual’s name). Conversely, a
single Claim Form should be submitted on behalf of one legal entity including all transactions
made by that entity on one Claim Form, no matter how many separate accounts that entity has

                                                  4
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 40 of 50 PageID #:1336




(e.g., a corporation with multiple brokerage accounts should include all transactions made in all
accounts on one Claim Form).
        12.     All joint beneficial owners must sign this Claim Form. If you purchased or
otherwise acquired Groupon Stock during the Settlement Class Period and held the securities in
your name, you are the beneficial owner as well as the record owner and you must sign this Claim
Form to participate in the Settlement. If, however, you purchased or otherwise acquired Groupon
Stock during the Settlement Class Period and the securities were registered in the name of a third
party, such as a nominee or brokerage firm, you are the beneficial owner of these securities, but
the third party is the record owner. The beneficial owner, not the record owner, must sign this
Claim Form.
       13.    Agents, executors, administrators, guardians, and trustees must complete and sign
the Claim Form on behalf of persons represented by them, and they must:
              (a)      expressly state the capacity in which they are acting;
              (b)      identify the name, account number, Social Security Number (or
                       taxpayer identification number), address and telephone number of the
                       beneficial owner of (or other person or entity on whose behalf they are
                       acting with respect to) the Groupon Stock; and
              (c)      furnish herewith evidence of their authority to bind to the Claim Form the
                       person or entity on whose behalf they are acting. (Authority to complete
                       and sign a Claim Form cannot be established by stockbrokers demonstrating
                       only that they have discretionary authority to trade stock in another person’s
                       accounts.)
        14.    By submitting a signed Claim Form, you will be swearing that you:
               (a)     own(ed) the Groupon Stock you have listed in the Claim Form; or
               (b)     are expressly authorized to act on behalf of the owner thereof.
        15.     By submitting a signed Claim Form, you will be swearing to the truth of the
statements contained therein and the genuineness of the documents attached thereto, subject to
penalties of perjury under the laws of the United States of America. The making of false
statements, or the submission of forged or fraudulent documentation, will result in the rejection of
your claim and may subject you to civil liability or criminal prosecution.
         16.   If the Court approves the Settlement, payments to eligible Authorized Claimants
pursuant to the Plan of Allocation (or such other plan of allocation as the Court approves) will be
made after the completion of all claims processing. This could take substantial time. Please be
patient.
        17.     PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant
shall receive his, her or its pro rata share of the Net Settlement Fund. If the prorated payment to
any Authorized Claimant, however, calculates to less than $10.00, it will not be included in the
calculation and no distribution will be made to that Authorized Claimant.
      18.   If you have questions concerning the Claim Form, or need additional copies of the
Claim Form or the Settlement Notice, you may contact the Claims Administrator, Epiq at
Macovski v. Groupon, Inc. P.O. Box 2648, Portland, OR 97208-2648 by email at

                                                 5
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 41 of 50 PageID #:1337




info@GrouponSecuritiesSettlement.com, or by toll-free phone at (866) 991-0893 or you may
download the documents from the Settlement website, www.GrouponSecuritiesSettlement.com.
        19.    NOTICE REGARDING ELECTRONIC FILES: Certain Claimants with large
numbers of transactions may request, or may be requested, to submit information regarding their
transactions in electronic files. To obtain the mandatory electronic filing requirements and file
layout, you may visit the Settlement website at www.GrouponSecuritiesSettlement.com or you
may      email     the    Claims     Administrator’s    electronic    filing    department       at
info@GrouponSecuritiesLitigation.com. Any file not in accordance with the required electronic
filing format will be subject to rejection. No electronic files will be considered to have been
properly submitted unless the Claims Administrator issues an email to that effect after processing
your file with your claim numbers and respective account information. Do not assume that your
file has been received or processed until you receive this email. If you do not receive such an
email within 10 days of your submission, you should contact the electronic filing department at
info@GrouponSecuritiesLitigation.com to inquire about your file and confirm it was received and
acceptable.
        20.     NOTICE REGARDING ONLINE FILING: Claimants who are not Representative
Filers may submit their claims online using the electronic version of the Claim Form hosted at
www.GrouponSecuritiesSettlement.com. If you are not acting as a Representative Filer, you do
not need to contact the Claims Administrator prior to filing; you will receive an automated e-mail
confirming receipt once your Claim Form has been submitted. If you are unsure if you should
submit your claim as a Representative Filer, please contact the Claims Administrator at
info@GrouponSecuritiesLitigation.com or by toll-free phone at (866) 991-0893. If you are not a
Representative Filer, but your claim contains a large number of transactions, the Claims
Administrator may request that you also submit an electronic spreadsheet showing your
transactions to accompany your Claim Form.

                               IMPORTANT: PLEASE NOTE
YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN
ACKNOWLEDGEMENT POSTCARD. THE CLAIMS ADMINISTRATOR WILL
ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL WITHIN 60 DAYS. IF
YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS,
PLEASE CALL THE CLAIMS ADMINISTRATOR TOLL FREE AT (866) 991-0893.




                                                6
            Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 42 of 50 PageID #:1338




                   PART III – SCHEDULE OF TRANSACTIONS IN GROUPON STOCK
Complete this Part III if and only if you purchased/acquired Groupon Stock during the period from July 30, 2019
and February 18, 2020, inclusive. Please include proper documentation with your Claim Form as described in detail
in Part II – General Instructions, Paragraph 10, above. Do not include information in this section regarding
securities other than Groupon Stock.
1. BEGINNING HOLDINGS – State the total number of shares of Groupon Stock held as of the close of trading
on July 29, 2019. (Must be documented.) If none, write “zero” or “0.” ____________________

2. PURCHASES/ACQUISITIONS DURING THE SETTLEMENT CLASS PERIOD THROUGH MAY
18, 2020– Separately list each and every purchase/acquisition (including free receipts) of Groupon Stock from
after the opening of trading on July 30, 2019, through and including the close of trading on May 18, 2020. (Must
be documented.)

  Date of Purchase/                                                                         Total Purchase/
                                                            Purchase/
   Acquisition (List       Number of Shares                                          Acquisition Price (excluding
                                                           Acquisition
   Chronologically)       Purchased/ Acquired                                       taxes, commissions, and fees)
                                                         Price Per Share
  (Month/Day/Year)
        /      /                                    $                           $

        /      /                                    $                           $

        /      /                                    $                           $

        /      /                                    $                           $
3. SALES DURING THE SETTLEMENT CLASS PERIOD THROUGH MAY
                                                                                             IF NONE, CHECK
18, 2020 – Separately list each and every sale/disposition (including free deliveries) of
                                                                                                  HERE
Groupon Stock from after the opening of trading on July 30, 2019, through and including
                                                                                                    ○
the close of trading on May 18, 2020. (Must be documented.)

    Date of Sale/
      Delivery                                                                  Total Sale Price (excluding taxes,
                                                            Sale Price
        (List            Number of Shares Sold                                       commissions, and fees)
                                                            Per Share
   Chronologically)
  (Month/Day/Year)
        /      /                                    $                           $

        /      /                                    $                           $

                                                    $                           $
        /      /


        /      /                                    $                           $
4. ENDING HOLDINGS – State the total number of shares of Groupon Stock held as of the close of trading on
May 18, 2020. (Must be documented.) If none, write “zero” or “0.” ____________________

                                                        7
    Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 43 of 50 PageID #:1339




     IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST
                  PHOTOCOPY THIS PAGE AND CHECK THIS BOX
IF YOU DO NOT CHECK THIS BOX THESE ADDITIONAL PAGES WILL NOT BE REVIEWED




                                           8
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 44 of 50 PageID #:1340




                   PART VI – RELEASE OF CLAIMS AND SIGNATURE

 YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN

                           ON PAGE [XX] OF THIS CLAIM FORM.

I (we) hereby acknowledge that as of the Effective Date of the Settlement, pursuant to the terms
set forth in the Stipulation, I (we), on behalf of myself (ourselves) and my (our) successors and
assigns, shall be deemed to have, and by operation of law and of the Judgment shall have, fully,
finally and forever waived, released, discharged, and dismissed each and every Released Plaintiffs’
Claim (as defined in the Stipulation and in the Settlement Notice) against Defendants’ Releasees
(as defined in the Stipulation and in the Settlement Notice) and shall forever be barred and enjoined
from commencing, instituting, prosecuting or continuing to prosecute any action or other
proceeding in any court of law or equity, arbitration tribunal or administrative forum asserting any
or all of the Released Plaintiffs’ Claims against any Defendants’ Releasee.
                                         CERTIFICATION
By signing and submitting this Claim Form, the Claimant(s) or the person(s) who represent(s) the
Claimant(s) certifies (certify), as follows:

        1.     that I (we) have read and understand the contents of the Settlement Notice and
this Claim Form, including the releases provided for in the Settlement and the terms of the Plan
of Allocation;
       2.     that the Claimant(s) is a (are) Settlement Class Member(s), as defined in the
Settlement Notice and in paragraph 2 on page 3 of this Claim Form, and is (are) not excluded
from the Class by definition or pursuant to request as set forth in the Settlement Notice and in
paragraph 3 on page 3 of this Claim Form;
       3.      that I (we) own(ed) the Groupon Stock identified in the Claim Form and have not
assigned the claim against the Defendants’ Releasees to another, or that, in signing and
submitting this Claim Form, I (we) have the authority to act on behalf of the owner(s) thereof;
       4.     that the Claimant(s) has (have) not submitted any other claim covering the same
purchases/acquisitions of Groupon Stock and knows (know) of no other person having done so
on the Claimant’s (Claimants’) behalf;
      5.      that the Claimant(s) submit(s) to the jurisdiction of the Court with respect to
Claimant’s (Claimants’) claim and for purposes of enforcing the releases set forth herein;
      6.     that I (we) agree to furnish such additional information with respect to this Claim
Form as Lead Counsel, the Claims Administrator or the Court may require;
       7.       that the Claimant(s) waive(s) the right to trial by jury, to the extent it exists, and
agree(s) to the Court’s summary disposition of the determination of the validity or amount of the
claim made by this Claim Form;
       8.      that I (we) acknowledge that the Claimant(s) will be bound by and subject to the
terms of any judgment(s) that may be entered in the Action; and


                                                   9
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 45 of 50 PageID #:1341




        9.     that the Claimant(s) is (are) NOT subject to backup withholding under the
provisions of Section 3406(a)(1)(C) of the Internal Revenue Code because (a) the Claimant(s) is
(are) exempt from backup withholding or (b) the Claimant(s) has (have) not been notified by the
IRS that he/she/it is subject to backup withholding as a result of a failure to report all interest or
dividends or (c) the IRS has notified the Claimant(s) that he/she/it is no longer subject to backup
withholding. If the IRS has notified the Claimant(s) that he, she or it is subject to backup
withholding, please strike out the language in the preceding sentence indicating that the
claim is not subject to backup withholding in the certification above.
UNDER THE PENALTIES OF PERJURY, I (WE) CERTIFY THAT ALL OF THE
INFORMATION PROVIDED BY ME (US) ON THIS CLAIM FORM IS TRUE, CORRECT,
AND COMPLETE, AND THAT THE DOCUMENTS SUBMITTED HEREWITH ARE TRUE
AND CORRECT COPIES OF WHAT THEY PURPORT TO BE.



Signature of Claimant                                                                  Date

Print your name here

Signature of joint Claimant, if any                                                    Date

Print your name here
If the Claimant is other than an individual, or is not the person completing this form, the
following also must be provided:

Signature of person signing on behalf of Claimant                                      Date

Print your name here

CAPACITY OF PERSON SIGNING ON BEHALF OF CLAIMANT, IF OTHER THAN AN
INDIVIDUAL, E.G., EXECUTOR, PRESIDENT, TRUSTEE, CUSTODIAN, ETC. (MUST
PROVIDE EVIDENCE OF AUTHORITY TO ACT ON BEHALF OF CLAIMANT – SEE
PARAGRAPH 14 ON PAGE 5 OF THIS CLAIM FORM.)




                                                  10
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 46 of 50 PageID #:1342




                                  REMINDER CHECKLIST:
1. Please sign the above release and certification. If this Claim Form is being made on behalf of
   joint Claimants, then both must sign.
2. Remember to attach only copies of acceptable supporting documentation as these documents
   will not be returned to you.
3. Please do not highlight any portion of the Claim Form or any supporting documents.
4. Do not send original security certificates or documentation. These items cannot be returned to
   you by the Claims Administrator.
5. Keep copies of the completed Claim Form and documentation for your own records.
6. The Claims Administrator will acknowledge receipt of your Claim Form by mail, within 60
   days. Your claim is not deemed filed until you receive an acknowledgement postcard. If you
   do not receive an acknowledgement postcard within 60 days, please call the Claims
   Administrator toll free at (866) 991-0893.
7. If your address changes in the future, or if this Claim Form was sent to an old or incorrect
   address, please send the Claims Administrator written notification of your new address. If you
   change your name, please inform the Claims Administrator.

8. If you have any questions or concerns regarding your claim, please contact the Claims
   Administrator at the address below, by email at info@GrouponSecuritiesSettlment.com, or
   toll-free at (866) 991-0893 or visit www.GrouponSecuritiesSettlement.com. Please DO NOT
   call Groupon or any of the other Defendants or their counsel with questions regarding your
   claim.

THIS CLAIM FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR BY FIRST-
CLASS MAIL, POSTMARKED NO LATER THAN                     , 2022,
ADDRESSED AS FOLLOWS:
                                   Macovski v. Groupon, Inc.
                                            c/o Epiq
                                         P.O. Box 2648
                                   Portland, OR 97208-2648


OR SUBMITTED ONLINE AT WWW.GROUPONSECURITIESSETTLEMENT.COM ON OR
BEFORE _____, 2022.

A Claim Form received by the Claims Administrator shall be deemed to have been submitted when
posted, if a postmark date on or before                     , 2022 is indicated on the envelope
and it is mailed First Class, and addressed in accordance with the above instructions. In all other
cases, a Claim Form shall be deemed to have been submitted when actually received by the Claims
Administrator.


                                                11
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 47 of 50 PageID #:1343




       You should be aware that it will take a significant amount of time to fully process all of the
Claim Forms. Please be patient and notify the Claims Administrator of any change of address.




                                                 12
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 48 of 50 PageID #:1344




                                                                                           Exhibit 3
                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LAZAR MACOVSKI, Individually and On
Behalf of All Others Similarly Situated,

                               Plaintiff,
                                                   Case No. 1:20-cv-02581
               v.
                                                   Honorable Matthew F. Kennelly
GROUPON, INC., RICH WILLIAMS, and
MELISSA THOMAS,

                               Defendants


           SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION,
               CERTIFICATION OF SETTLEMENT CLASS, AND
        PROPOSED SETTLEMENT; (II) SETTLEMENT FAIRNESS HEARING;
           AND (III) MOTION FOR AN AWARD OF ATTORNEYS’ FEES
             AND REIMBURSEMENT OF LITIGATION EXPENSES

TO: All persons and entities who, during the period between July 30, 2019 through February
     18, 2020 inclusive, purchased or otherwise acquired the common stock of Groupon,
     Inc. (“Groupon”) and were damaged thereby (the “Settlement Class”):
PLEASE READ THIS NOTICE CAREFULLY, YOUR RIGHTS WILL BE AFFECTED
BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.

        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil
Procedure and an Order of the United States District Court for the Northern District of Illinois,
that the above-captioned litigation (the “Action”) has been certified as a class action on behalf of
the Settlement Class, except for certain persons and entities who are excluded from the Settlement
Class by definition as set forth in the full printed Notice of (I) Pendency of Class Action,
Certification of Settlement Class, and Proposed Settlement; (II) Settlement Fairness Hearing; and
(III) Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses (the
“Notice”).
        YOU ARE ALSO NOTIFIED that Lead Plaintiff in the Action has reached a proposed
settlement of the Action for $13,500,000 in cash (the “Settlement”) that, if approved, will resolve
all claims in the Action.
       A hearing will be held on _____________, 2022 at __:__ _.m., before the Honorable
Matthew F. Kennelly at the United States District Court for the Northern District of Illinois, Everett
McKinley Dirksen United States Courthouse, Courtroom 2103, 219 S. Dearborn Street, Chicago,
IL 60604, to determine (i) whether the proposed Settlement should be approved as fair, reasonable,
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 49 of 50 PageID #:1345




and adequate; (ii) whether the Action should be dismissed with prejudice against Defendants, and
the Releases specified and described in the Stipulation and Agreement of Settlement dated June
24, 2022 (and in the Notice) should be granted; (iii) whether the proposed Plan of Allocation
should be approved as fair and reasonable; and (iv) whether Lead Counsel’s application for an
award of attorneys’ fees and reimbursement of expenses should be approved.
        If you are a member of the Settlement Class, your rights will be affected by the
pending Action and the Settlement, and you may be entitled to share in the Settlement Fund.
If you have not yet received the Notice and Claim Form, you may obtain copies of these documents
by contacting the Claims Administrator at Macovski v. Groupon Inc., c/o Epiq, P.O. Box 2648,
Portland, OR 97208-2648, 1-866-991-0893. Copies of the Notice and Claim Form can also be
downloaded       from     the    website    maintained    by    the    Claims      Administrator,
www.GrouponSecuritiesSettlement.com.
       If you are a member of the Settlement Class, in order to be eligible to receive a payment
under the proposed Settlement, you must submit a Claim Form online or postmarked no later than
_____________, 2022. If you are a Settlement Class Member and do not submit a proper Claim
Form, you will not be eligible to share in the distribution of the net proceeds of the Settlement but
you will nevertheless be bound by any judgments or orders entered by the Court in the Action.
       If you are a member of the Settlement Class and wish to exclude yourself from the
Settlement Class, you must submit a request for exclusion such that it is received no later than
_____________, 2022, in accordance with the instructions set forth in the Notice. If you properly
exclude yourself from the Settlement Class, you will not be bound by any judgments or orders
entered by the Court in the Action and you will not be eligible to share in the proceeds of the
Settlement.
       Any objections to the proposed Settlement, the proposed Plan of Allocation, or Lead
Counsel’s motion for attorneys’ fees and reimbursement of expenses, must be filed with the Court
and delivered to Lead Counsel and Defendants’ Counsel such that they are received no later than
_____________, 2022, in accordance with the instructions set forth in the Notice.
Please do not contact the Court, the Clerk’s office, Groupon, or its counsel regarding this
notice. All questions about this notice, the proposed Settlement, or your eligibility to
participate in the Settlement should be directed to Lead Counsel or the Claims
Administrator.
       Requests for the Notice and Claim Form should be made to:
                                  Macovski v. Groupon Inc.
                                          c/o Epiq
                                       P.O. Box 2648_
                                  Portland, OR 97208-2648
                                       1-866-991-0893
                             www.GrouponSecuritiesSettlement.com

      Inquiries, other than requests for the Notice and Claim Form, should be made to Lead
Counsel:



                                                 2
Case: 1:20-cv-02581 Document #: 108-1 Filed: 06/27/22 Page 50 of 50 PageID #:1346




                            KIRBY MCINERNEY LLP
                              Thomas W. Elrod, Esq.
                            250 Park Avenue, Suite 820
                              New York, NY 10177
                                  (212) 371-6600
                                telrod@kmllp.com

                                      -and-

                      GLANCY PRONGAY & MURRAY LLP
                              Leanne H. Solish, Esq.
                        1925 Century Park East, Suite 2100
                             Los Angeles, CA 90067
                                  (888) 773-9224
                           settlements@glancylaw.com

                                                               By Order of the Court




                                        3
